Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page1of48 Page ID #:66

EXHIBIT A
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 2 of 48 Page ID #:67

 

 

oo oa. “SUMMONS a SUM-100
me ae : (CKTACION JUDICIAL) "(SOLO PARAUSO DE LA GORTE)
NOTICE TO DEFENDANT: PACCAR INC., a Delaware Corporati a | :
(AVISO AL DEMANDADO): Kenwo ruck Company;.and DOES 1 to 50,
inclusive; we CONFORMED
ORIGINAL BGOPY
"Scany OF Ln Ae
. MAR 2.0 2014
YOU ARE BEING SUED BY PLAINTIFF: ARTAK SARGSYAN, an Sherri R. Carter, Executive Orficer/Clerk
(LO ESTA DEMANDANDO EL DEMANDANTE): individual; - y: Amber Hayes, Deputy

 

 

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below. ;

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case, There may be a court form that you can use for your response. ‘You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinio.ca.gov/selfhe/p), your county law library, or the courthouse nearest you, if you'cannot pay the filing fee, ask
the court clerk for a fea waiver form. If you do not file your response on time, you may lose the casa by default, and your wages, money, and property
may be taker without further warning from the court. ; :

There are other legal requirements. You may want to call an attornay right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal servicas from a nonprofit legal services program. You can locale
these nonprofit groups at the California Legal Sarvices Web site (www.lawhelpcaliforia.org), the California Courts Online Self-Help Center
(www, courtinfo.ca.gov/selm elo), or by contacting your local court or county bar association, NOTE: The court has a statutory llen for waived fees and
costs on any settlement or arbitration award of $10,000 or more In a civil case. The court's lien must be paid before the court will dismiss the case,
jAVISO! Lo han demandado. Si no responde dentro da 30 dias, Ja corta puede decidir en su contra sin escuchar su version. Led la Informacién a
continuacién

Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citacién y papeles legales para presentar una respuesta por escnio en esta
corte y hacer que se entregue une copia al demandante, Una carta o una llamada telefénica no lo protagen, Su respuesta por escrito tiene que estar
en formate legal correcto si desea que procesen su caso en la corte, Es posible que haya un formulario que usted pueda usar para su respuesta,
Puede encontrar estas formulanios de /a corte y mas informacién en el Centro da Ayuda de las Cortes da Califomia (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que la quede mds cerca. S! no puede pagar la cuola da presentacion, pida al secrelario de la corte
que la dé un formulario de exencién de pago da cuolas. S/ no presenta su respuesta a tempo, puede perder el caso por incumplimlento y la corte le
podré quitar su suelde, dinero y blenes sin més advertencia.

Hay otros requisitos /egaies. Es recomendable que lame a un abogado Inmadiatamente, Si no conoce a un abogado, puede llamar a un servicio de
ramision a abogados. Sino puede pagar .a un abogado, es posible que cumpla con Jos requisitos para obtener servicios legales gratuifos de un
programa de servicios legales sin fines de lucro. Puede encontrar astos grupos sin fines de lucro en al sitio web de Califomia Legal Services,
(www.lawhelpcalifornia.org), en el Centro da Ayuda de las Cortes de California, (www.sucorte.ca.gov) 0 poniéndose en contacto con /a corte o ef
colegio de abogados tocales. AVISO: Por ley, la corte tiane derecho a reciamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquiar recuperacién de $10,000 d més de valor recibida mediante un acuardo o una concesién de arbitraje en un caso de‘derecho civil. Tiene que
_ | pagar al gravamen de la corte antes de que le corte pueda desechar a/ caso.

‘The name and address of the court is: ,

 

 

 

 

 

CASE NUMBER:
(El nombre y direccién de la corte es): ‘ (Némero del Caso):
Los Angeles Superior Court 1 "2 B C 54 005 0
111 N. il} street
111 N. Hill Street

Los Angeles, 90012
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: .
El nombre, la direccién y el numero de teléfono de! abogado de! demandante, o del demandante que no tiene abogado, es):

§. Kaloustian (SBN 219679 818) 594-0739 (818) 594-0852 F
RAT Sal oustian CON ae (818) ( ax

21031 Ventura Bivd., Ste. 410

 

Woodland Hills, CA 91364 SHERR! R.
DATE: ATER clerk, by Amber Hayes | Deputy
(Fecha) (Secretario) (Adjunto)

 

(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatién use ‘el formulanio Proof of Service of Summons, (POS-010)).
NOTICE TO THE PERSON SERVED: You are served

1. [[_] as an individual defendant. deo. Kenvoortn
2. rs) as the person sued under the fictitious name of (specify): “Tooeke CaCy,

 

 

 

under: LX) CCP 416.10 (corporation) [__] CCP 416.60 (minor)
a] CCP 416.20 (defunct corporation) ("_"] CCP 416.70 (conservatee)
{| CCP 416.40 (association or partnership) [__ | CCP 416.90 (authorized person)
_ [-} other (specify):
4. i by personal delivery on (date): S/ ii { (¥ Page 1 of 1
Pa oe ee SUMMONS mF Code of Civil Procedure §§ 412.20, 465

SUM-100 (Rev, July 1, 2008? Solutigns

3. [SZ] on behalf of (specify): PROCAR ING. O ooware. Corporaltior
20
21
22
23
24

25

26 |

el 2d

28

| ARTAK SARGSYAN, an individual;

Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 3of48 Page ID #:68

_

CONFORMED CO}

Harry S. Kaloustian, Esq. (SBN 219679) ORIGINAL FLED

KALOUSTIAN & ASSOCIATES "County OrLasAanees

21031 Ventura Boulevard, Ste. 410

Woodland Hills CA 91364 MAR.2-0 2014
e 4.0739 :

Fax: (aie) 594-0852 Sherri R. Carter, Executive Offic

| By: Amber Hayes, Deput!
Tigran Khatchatrian (SBN 254319)
KHATCHATRIAN & ASSOCIATES
701 N. Brand Boulevard, Ste, 280
Glendale, CA 91203

Tel: (818) 247-7717

Fax: (818) 247-7719

Attorneys for Plaintiff ARTAK SARGSYAN

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES — CENTRAL DISTRICT

pCg40080

ase No::
COMPLAINT:

1. BREACH OF WRITTEN CONTRACT;

2, REVOCATION OF ACCEPTANCE;

i. Cn Or XPRESS WARRANTY;
PACCAR INC., a Delaware Corporation d/b/a ) : oe OF Rosa WARRANTY OF

dC
)
_ Plaintiff, y ©
}
os
Kenworth Truck Company; and DOES 1 to 50, ; MERCHANTIBILITY.
)
)
)
2
)
)
3
)

VS,

inclusive;
UNLIMITED JURISDICTION
(Amount demanded exceeds $25,000]

JU RY TRIAL DEMANDED

Defendants.

 

PLAINTIFF ARTAK SARGSYAN hereby alleges and complains as follows: .
GENERAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
1, Plaintiff ARTAK SARGSYAN is an individual and at all relevant times was and

is a resident of Los Angeles County, State of California.

Y

pr/Clerk
y

 

 

 

ae

 

COMPLAINT FOR DAMAGES
19

20

2]

22

23

24

25

26

27

28

 

»

 

Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 4of48 Page ID #:69

-

&

2. Defendant PACCAR INC. is a Delaware Corporation authorized to do business in
the State of California and at all times relevant hereto, was engaged in the manufacture, sale
distribution and/or importing of Kenworth motor vehicles and related equipment, and was doing
business in the City of Los Angeles, County of Los Angeles, Caltfornty-as Kenworth Truck
Company (hereinafter referred to as “Kenworth”).

3, The true names and capacities, whether individual, corporate, associate, or
otherwise, of the Defendants, Does 1through 50, inclusive, are unknown to Plaintiff who
therefore sues these Defendants by such fictitious names. Plaintiff will seek leave to amend this
Complaint to set forth their true names and capacities when they have ascertained them. Further,
Plaintiff'is informed and believes, and thereon alleges, that each of the Defendants designated
herein as a “Doe” is responsible in some manner for the events and happenings herein referred to
and caused injury and damage to Plaintiff as herein alleged.

4. On or about February 22, 2012, Plaintiff purchased a new 2012 Kenworth T660,
VIN IXKAD49X7CJ 299456, (hereinafter referred to as “Vehicle”) which was manufactured by
Kenworth for a total consideration of $123,446.43. A true and correct copy of the Sales
Agreement is attached as Exhibit “A” and incorporated herein by this reference. ,

Bs Along with the purchase of the Vehicle, Plaintiff received written warranties and
other express and implied warranties including, by way of example and not by way of limitation,
warranties from Kenworth. The warranties provided that Kenworth would repair or adjust all
parts found to be defective in factory-supplied materials or workmanship. The warranties
provided 1 year / 100,000 miles of coverage under the basic vehicle warranty. The warranties
also provided 3 years / 300,000 miles of coverage under the major component warranty. Various
other warranty coverages were also available under the limited warranty. A true and correct copy
of the limited warranty is attached as Exhibit “B” and incorporated herein by this reference and
is hereinafter referred to as the “Kenworth warranty.”

6, | _The limited warranties, given by Kenworth and adopted by its repair facilities
created a contractual relationship between Kenworth, is authorized repair facilities and Plaintiff.

The Kenworth warranty allowed Plaintiff to utilize any Kenworth authorized repair facility to

 

ae

COMPLAINT FOR DAMAGES

 
. 20

21

22

23

24

25

26

oT

28

 

 

‘

’
»
\
,

Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page5of48 Page ID #:70

address any defects or nonconformities with the Vehicle. Performance under the Kenworth

warranty was required in Los Angeles County and in fact, Plaintiff sought performance from a

Kenworth authorized repair facility on several occasions in Montebello, CA.

7, Plaintiff has taken the Vehicle to the Kenworth’s authorized agents/dealers,

|| including Seller, on several separate occasions resulting in the Vehicle being out of service by

reason of repair of nonconformities on numerous days. A true and correct copy of the Repair

Orders history is attached as Exhibit “C” and incorporated herein by this reference. By way of

example, and not by way of limitation, the defects and/or nonconformities with Plaintiff's

Vehicle include the following:

 

 

 

Dates of Service | Location of Service Complaints

March 15, 2012 Inland Kenworth Inc. Inland | Align Driver Door,

1 Day in Service Paclease .

Mileage in 2,876 Montebello, CA

June 4, 2012 Inland Kenworth Inc, Inland | Truck Surges While Under A

1 Day in Service

Mileage in 18,101

Paclease

Montebello, CA

Load. Turbo Cuts In And Out.

 

July 5, 2012 — July 6, 2012

Inland Kenworth Inc. Inland

Fan Blade Broken. Tail Lights

 

2 Days in Service Paclease Are Always On.
Mileage in 27,666. Montebello, CA .
September 14, 2012 Kenworth Sales Company | While Taking Off From A
West Valley City, UT Stop Engine Seems To Jerk.
| When Engine Cold In The
1 Day in Service AM There Was White Smoke

Mileage in 51,916

 

 

Coming From Below Behind
Turbo. Cruise Will Not Stay
Set. Flashing Light Switch On
Steering Wheel Not Working.

 

 

ae

COMPLAINT FOR DAMAGES

 

 
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 6éof48 Page ID#:71

~

wu

On

~~

oO

 

 

When Key Is Off And Door
Open Dash Lights Seem Dim.
October 15, 2012 —- October | Inland Kenworth Inc. Inland | Driver’s Side Door Was
24, 2012 Paclease Adjusted Twice And Still
Fontana, CA Hears And Feels Wind Aor

10 Days in Service

Mileage in 58,815

 

45 MPH. DPF Service Light
Is On And Injector #1 Failure -

-| Comes Up On Display. When

Driver’s Door Is Open The
Tail Lights Dim. When
Loaded Getting On The

| Freeway, The Unit Surges. It

Starts To Heat Up Quickly
And The Turbo Boost
Pressure Drops To Zero. It
Blows Weak In The Cab. |
Turbo Flex Pipe Is Cracked.
High Beam Headlight Switch
On Steering Wheel
Inoperable. Loud Ticking
Noise From Passenger Side
Only In The AM. Replace
Rear Mud Flaps.

 

December 12, 2012

1 Day in Service

Mileage in 74,112

 

Inland Kenworth Inc. Inland
Paclease

Montebello, CA

 

Replace Door Sills On Driver

Door.

 

 

~4-

COMPLAINT FOR DAMAGES

 

 
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 7 of 48 Page ID #:72

20

21

22

23

24

25

26

27

28

a=

a ; S

*

 

 

January 9, 2013 — January Inland Kenworth Inc. Inland | AC Blows Hot In Cab Also
15, 2013 _ | Paclease ' | Hot And Cold Knobs Not
7 Days in Service -Fontana, CA Closing Properly. Front End

| Suspension Complaint - Tires
Mileage in 83,394 7 Are Wearing Unevenly.
April 4, 2013 — April 5, Inland Kenworth Inc. Inland | Oil Consumption | Gallon
2013 Paclease Every 12000. Coolant Loss .
2 Days in Service Montebello, CA Possible At Heater Valve. 5”

| Wheel Adjustment. Door

Mileage in 108,243 Adjustment. ABS Light On.

 

 

 

 

8. This-action arises out of Defendants’ misrepresentations, various breaches of
warranties, and violations of statutes hereinafter alleged. |
_ i The amount in controversy exceeds TWENTY FIVE THOUSAND DOLLARS
($25,000.00), exclusive of interest and costs, for which Plaintiff seeks judgment against
Defendants, together with equitable relief. In addition, Plaintiff seeks damages including

interests, costs, and actual attorney’s fees.

FIRST CAUSE OF ACTION ©
(Breach of Written Contract - Against All Defendants)

10. Plaintiff realleges each and every paragraph (1-9) and incorporates them by this
reference as through fully set forth herein.

11. | Along with the purchase of the Vehicle, Plaintiff received written warranties and
other express and implied warranties including, by way of example and not by way of limitation,
warranties from Kenworth, The warranties provided that Kenworth would repair or adjust all
parts found to be defective in factory-supplied materials or workmanship, The warranties
provided | year / 100,000 miles of coverage under the basic vehicle warranty. The warranties

also provided 3 years / 300,000 miles of coverage under the major component warranty. Various

 

 

 

35

COMPLAINT FOR DAMAGES

 
20
21
22
23
24
25

26
27

28

Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 8 of 48 Page ID #:73

Te
.

4 i :

*
sy
,

other warranty coverages were also available under the limited warranty, The limited warranties
provided that Kenworth and its authorized repair facilities would repair or adjust all parts found
to be defective in factory-supplied materials or workmanship,

| 12. The limited warranties, given by Kenworth and adopted by its authorized repair
facilities when Kenworth and/or its authorized repair facilities serviced and repaired the Vehicle
created a contractual relationship between Kenworth, its authorized repair facilities and Plaintiff.

13. Kenworth and its authorized repair facilities have breached the expressed limited
warranty contract in that they have failed to repair or mite defective parts covered under the
limited warranty, failing to do so within the limited warranty coverage period, and within a
reasonable time and reasonable opportunities to do so. . .

14. Asadirect result of the acts and/or omissions of Defendants, and each of them,
Plaintiff is entitled to the following: (1) A declaration that they receive a replacement Vehicle, or
restitution of the amount actually paid or payable under the contract, at Plaintiff's option; (2)
Damages incurred by Plaintiff created by Defendants’ breach of contract, including all monies
paid for the purchase of the Vehicle; (3) Return of an amount equal to Plaintiff s down payment
and all payments made by Plaintiff to the Defendants; (4) For incidental, consequential,
exemplary and actual damages; (5) Costs and expenses; (6) Prejudgment interest at the legal rate;

and (7) Such other relief the Court deems appropriate.

SECOND CAUSE OF ACTION
(Revocation of Acceptance ~ Against All Defendants)

15. Plaintiff realleges each and every paragraph (1-14) and incorporates them by this
reference as though fully set forth herein.

16. Plaintiff accepted the Vehicle without discovering the above defects due to the,
fact Plaintiff-was reasonably induced to accept the Vehicle by the difficulty of discovery of the
above defects. | , |

17, In the alternative, Plaintiff reasonably assumed, and Kenworth represented, that

all if the aforesaid defects and/or nonconformities would be cured within a reasonable time.

 

 

 

shts

COMPLAINT FOR DAMAGES

 
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page9of48 Page ID #:74

19
20
21
22
23
24
25
26
27

28

oo

18. After numerous attempts by Defendants to cure, it has become apparent the
nonconformities could not be timely and/or reasonably eayredl

19. The nonconformities substantially impaired the value of the Vehicle to the
Plaintiff. Plaintiff has been deprived of the use of the Vehicle for an inordinate number of days
over the course of eight (8) repair visits.

20. Plaintiff had previously notified Kenworth of the nonconformities and Plaintiff's
intent to revoke acceptance pursuant to California Commercial Code §2608.

21. Kenworth has nevertheless refused to accept return.of the Vehicle and has refused
to refund any part of the sum equal to the purchase price and out-of-pocket expenses incurred by
Plaintiff, |

22. Asa direct result of Kenworth’s acts and/or omissions, Plaintiff has suffered
damages as set forth herein. Therefore, Plaintiff is entitled to judgment against Kenworth,
declaring acceptance has been properly revoked by Plaintiff and for damages incurred in
revoking acceptance, for a refund of the purchase price paid by Plaintiff for the Vehicle, for
cancellation of Plaintiff's retail installment contract and for payment in full to the creditor on the
balance of the installment contract, for consequential, incidental and actual damages, costs,

expenses, and prejudgment interest at the legal rate, and such other relief the Court deems

appropriate.

THIRD CAUSE OF ACTION
(Rescission - Against All Defendants) :
a | Plaintiff realleges each and every paragraph (1-22) and incorporates them by this
reference as though fully set forth herein. | |
24. The Kenworth tenants accompanied the delivery of the Vehicle to Plaintiff. The
Kenworth warranty provided that Kenworth and/or its authorized repair facilities would repair or
adjust all parts found to be defective in factory-supplied materials or workmanship.

25. The limited warranties, given by Kenworth and its authorized repair facilities,

when Kenworth and/or its authorized repair facilities serviced and repaired the Vehicle, created a

 

 

 

mie

COMPLAINT FOR DAMAGES

 
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 10 of 48 Page ID #:75

20
21
22
23
24
25
26
27

28

 

 

on

v ceo

*

»

contractual relationship between the Kenworth and its authorized repair facilities and Plaintiff.

26. Kenworth has breached the Kenworth warranty in that it has failed to repair or
adjust defective parts covered under the Kenworth warranty, has failed to do the same within the
Kenworth warranty’s coverage periods and within a reasonable time. |

2a ‘The acts and/or omissions of Kenworth have resulted in a failure of consideration
justifying the rescission of the contract.

28. Without a judicial declaration that the contract has been rescinded, Plaintiff will
suffer irreparable and substantial harm if the consideration paid by Plaintiff and damages
sustained by Plaintiff, are not restored.

29. Asa direct result of Kenworth's and/or its authorized repair facilities’ acts and/or
omissions, Plaintiff has suffered damages as set forth herein. Therefore, Plaintiff is entitled to a
judgment and the following relief against all Defendants: _

(1) Rescission of the purchase and retail installment contract by refunding all monies paid
by Plaintiffs, terminating the retail installment contract, requiring Defendants to pay off the
balance of the contract and ordering Plaintiff to return the Vehicle to the Defendants, (2)
Damages incurred by Plaintiff created by Defendants’ breach of contract, including all monies
paid equal for the purchase of the Vehicle; (3) Return of an amount equal to Plaintiffs down
payment and all payments made by Plaintiff to the Defendants; (4) For incidental, consequential,
exemplary and actual damages; (5) Costs and expenses; (6) Prejudgment interest at the legal rate;

and (7) such other relief the Court deems appropriate.

FOURTH CAUSE OF ACTION
(Breach of Express Warranty - Against All Defendants)
30. Plaintiff realleges each and every paragraph (1-29) and incorporates them by this
reference as though fully set forth herein. .
31.  Plaintiffis a “Buyer” under the California Commercial Code §2103 (a).
32. Kenworth is a “Merchant” under the California Commercial Code §2104 (1).

33. The Vehicle constitutes “Goods” under the California Commercial Code §2105.

 

aot

COMPLAINT FOR DAMAGES

 
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 11o0f48 Page ID

20

21

a2

23

24

25

26

27

28

Ped

34. Thisisa “Transaction in Goods,” to which California Commercial Code §2102,
2105 are applicable.

35. Plaintiff's purchase of the Vehicle was accompanied by the Kenworth warranty,
written and otherwise, offered by Kenworth. Whereby said warranties were part of the basis of
the bargain of the contract, upon which Plaintiff relied, between Plaintiff and Kenworth for its
purchase of the Vehicle.

36. In the express warranties, Kenworth warranted if any defects were discovered
within certain periods of time, Kenworth and/or its authorized repair facilities would provide
repair of the Vehicle free of charge of Plaintiff under specific terms as stated in the express
warranty. |

37, In fact, Plaintiff discovered the Vehicle had defects and problems after Plaintiff .
purchased the Vehicle as discussed above. |

38. Plaintiff notified Kenworth and/or its authorized repair facilities of the
aforementioned defects. |

39. Plaintiff has provided Kenworth with sufficient opportunities to repair or replace
the Vehicle.

40, _ Plaintiff has reasonably ret all obligations and pre-conditions as provided in the
Kenworth warranty.

41. | Kenworth and/or its authorized repair facilities have failed to adequately repair the
Vehicle and/or have not repaired the Vehicle in a timely fashion, and the Vehicle remains in
defective condition.

42, ° Even though the Kenworth warranty provided to Plaintiff limited Plaintiff's
remedy to repair and/or adjustment of defective parts, the warranty failed of its essential purpose
pursuant to California Commercial Code §2719 (2); and/or the above remedy is not the exclusive
remedy under California Commercial Code §§2719 (1) (b).

43. The Vehicle continues to contain defects which substantially impair the value of
the Vehicle to the Plaintiff. | |
HI

 

 

 

='Ohe

 

COMPLAINT FOR DAMAGES
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 12 of 48 Page ID #:77

20

21

22

23

24

25

26

27

28

~

44, These defects could tit reasonably have been discovered by the Plaintiff prior to
Plaintiff's acceptance of the Vehicle. |

45, Kenworth induced Plaintiffs acceptance of the Vehicle by agreeing, by means of
the Kenworth warranty, to remedy, within a reasonable time, those defects which had not been or
could not have been discovered prior to acceptance.

46.  Agaresult of its many defects, the Plaintiff has lost faith and confidence in the

Vehicle and the Plaintiff cannot reasonably rely upon the Vehicle for the ordinary purpose of

sale, efficient and safe transportation and use of the Vehicle in professional settings.

47, If the finder of fact finds revocation and/or rejection was improper, then, in the
alternative, Plaintiff alleges that as of the date of revocation, the Vehicle was in substantially the
same condition as at delivery, except for damage caused by its own defects and ordinary wear -
and tear. Therefore, Plaintiff is entitled to damages for breach of warranty calculated by the -
difference at the time an place of acceptance between the value of the goods accepted and the
value they would have had if they had been as warranted. |

48. Kenworth has refused Plaintiff's demands and has refused to provide Plaintiff
with the remedies to which Plaintiff is entitled pursuant to California Commercial Code §§2313,
2711, 2714 and 2715. .

49, As a direct result of Kenworth's acts and/or omissions, Plaintiff has suffered
damages as set forth herein. Therefore, Plaintiff is entitled to judgment against Kenworth
declaring acceptance has been properly revoked by Plaintiff and for damages incurred in
revoking acceptance, or a refund of the purchase price paid by Plaintiff for the Vehicle, for
cancellation of Plaintiff's retail installment contract and payment in full of the balance of the
installment contract by Kenworth, for incidental, consequential, and actual damages, for costs,
expenses, prejudgment interest at the legal rate, and for such other relief the Court deems
appropriate.

Mf
H/
Mf

 

 

 

= Ore

COMPLAINT FOR DAMAGES

 
20
21
22
23
24
25
26
27

28

Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 13 0f 48 Page ID #:78

7

a.

FIFTH CAUSE OF ACTION
(Breach of Implied Warranty of Merchantability - Against All Defendants)
50. Plaintiff realleges each and every paragraph (1-49) and incorporates them by this

reference as though fully set forth herein. . |

51. Kenworth is a “Merchant” with respect to Vehicles under the California
Commercial Code §2104 (1).

52. The Vehicle was subject to implied warranties of merchantability under Californial .
Commercial Code §2314, running from Kenworth to the benefit of Plaintiff.

53. The Vehicle was not fit for the ordinary purpose for which such goods are used.

54. The defects and problems herein above described rendered the Vehicle
unmerchantable.

$5. Kenworth and/or its authorized repair facilities failed to adequately remedy the
defects in the Vehicle; and the Vehicle continues to be in an unmerchantable condition at the
time of revocation, |

56. As a direct result of Kenworth’s acts and/or omissions, Plaintiff has suffered
damages as set forth herein. Therefore, Plaintiff is entitled to judgment against Kenworth
declaring acceptance has been properly revoked and for damages incurred in revoking
acceptance, for damages occasioned by the breach of the implied warranty, for a refund of the
purchase price paid by Plaintiff for the Vehicle, for cancellation of Plaintiff's installment contract
and payment in full by Seller and/or Kenworth of the balance of the installment contract, for
consequential, incidental, and actual damages, costs, expenses, prejudgment interest at the legal

rate, and such other relief as the Court deems appropriate.

WHEREFORE, Plaintiff prays for judgment against-all Defendants and each of them, as
follows: |

A. For Actual damages incurred by Plaintiff created by Defendants’ acts and/or
omissions in an amount to be proved at trial;

B. For incidental damages in an amount to be proved at trial;

 

 

 

-ll-

 

COMPLAINT FOR DAMAGES
19

20

21

oe

23

24 |,

25

26

oT

28

Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 14 0f 48 Page ID #:79

For consequential damages in an amount to be proved at trial;

D. For return of an amount equal to Plaintiff's down payment and all payments made by

Plaintiff to the Defendants and/or to other parties under the installment contract for

_ purchase;

E. For an order of Restitution;

F. For an order of Restitution re: the purchase agreement and retail installment contract
requiring Defendants and each of them refund all monies paid by Plaintiff, and
additionally terminating the retail installment contract, requiring Defendants to pay
off the balance of the contract and ordering Plaintiff to return the Vehicle to the
Defendants; | .

G. For costs of suit and expenses;

H. For pre-judgment interest at the legal rate; and

I. Such other relief the Court deems appropriate.

DATED: March 19, 2014 | KALOUSTIAN & ASSOCIATES

 

oe : 3
Harry & Kaldystion, 24. Attorneys for
Plaintiff, ARTAK SARGSYAN

 

 

 

Soe

COMPLAINT FOR DAMAGES

 
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 15 of 48 Page ID #:80

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fdrgo Equipment inane, Ine: *
eae Ave, Sulfe, 700...

TESLUVGMING AVENUE
oe REORN, ue 48120

 

 

 

 

 
Case 2:14-cv-04410-PSG-AS Document 1-1

#:82

on

Filed 06/06/14 Page 17 of 48 Page ID

 

we,
Ake

   
 
 

 

 

 

{6
Vatiiele Bi wold) viel] condl] freon wi wel

 

 

 

 

 

oe the

misage QO i!
Factory Uist Aiived Yo Vandalia ©

IN-TRANSTEMCO# KE-609586 TO BE LICENSED
AND TITLED IN THE STATE OF CALIFORN

 

 

fare fir vy veil

 

 

 
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 18 of 48 Page ID #:83

 
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 19 of 48 Page ID #:84

“ETRUGK: SORPRIY. EW
: | WARRANTY: CAREUI ;

+} xXeriwonth nis atractly thalth ante
i CHarrontable Ealiores?| pe atolls rt vee
‘Schedule (dated Tog) lle wnat enter Oy >
‘YOUR SOLE -AND EXOUWNISIVE REMEOYA KEN
‘| THIS: EtG, 5 WMITER 70: nee

GANADIAN k KENWORTH DEALERS.

g doit ex
0, aE & SECLND

 

 

 

 

 

fats : af
orsibla trate i
ie iS recommended: ap ee itgnante haya: 00 poriormes. Be .
wes sau of cere 8 i ake the: Ve ‘hci avaltotle for a Fare >, L
del fo fhe Auth eae: Ueeatla dr tyelh Cana

APT ——— ee hu
. .) wheal pe Ree

no we = : Ns as a witog ots ean dovoloostectaa tines
Ee sues sans =e fry, Cran Ups tha @¢ Z ig 5i000 rill fst a ater

 

 

 

 

 

 

 

 

 

 
 

Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 20 of 48 Page ID #:85

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 21 0f48 Page ID #:86

 

 

Kenworth Truck Company Warranty Agreem.* CAT 2528) revision 11/09 ; Page 3 of 3
os KENWORTH TRUCK COMPANY ©
Class 8 Standard Service (On-Highway) Warranty Schedule
UNITED STATES

VEHICLE ONLY

THIS VEHICLE WARRANTY SCHEDULE APPLIES ONLY TO ORIGINAL FACTORY. EQUIPMENT AND IS SUBJECT TO THE TERMS AND
LIMITATIONS IN THE ATTACHED LIMITED WARRANTY AGREEMENT. Pursuant to the terms of the attached Limited Warranty Agreement, Kenworth
Truck Company will pay warranty clalms for Warrantable Failures within the following maximum limits in time or mileage, whichever shall occur first.
The Warrantable Failure must be brought to the attention of an Authorized Dealer within 30 days of discovery.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

MONTHS MILES -
Basic Vehicle 12 400,000
This coverage applies to the basic highway Vehicle, except for additional coverage and warranty. exclusions. : ,
Major Components
a Meritor & Dana Spicer front axla (beam, spindles, Kingpin & kingpin bushings, steering arm, tie rod & tie rod

rms). :

ae Meritor & Dana Spicer rear axle, differential assembly, axle shafts & axle housing. 36 300,000
Manual transmissions '
Eaton Auto Shift transmission 3
Bendix and Meritor brakes, brackets, cam shafts, spiders and slack adjusters (excludes Air Disc Brakes).
Structural compenents of the cab, hood, hood half fenders, and sleeper.
Frame, Gussets, Crossmembers and Cab Corrosion vs
IFrame rails, qussets, and crossmembers. i . 60 §00,000
‘Cab, hood, and sleépar perforation caused by corrosion from within. This warranty does not apply to corrosion ,
caused by damage to a cab, hood, and sleeper panel or to finish paint.
Other Coverage , :
PACCAR Batteries. : : i 12 400,000
Gaskets and Wheo! Seals 12 50,000
Gab, Hood & Siasper Paint ‘ 12 100,000
Frame Paint - Black only 42 100,000
Frame Paint - All colors other than black ’ 2 : 6 50,000
Frame Paint ~ Logger, Mixer, Dump, Refuse, Oll Field & Construction applications . 3 25,000

 

 

1X KAD49X7CJ299456

 

 

Customer: Initials Sh-

 

Chassis Number(s) (17-digit VIN)

 

 
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 22 of 48 Page ID #:87

a

t
,,

Kenworth Truck Company Warranty Agree CAT 2528) revision 11/09

oo ... _KYNWORTH TRUCK COMPANY

¥ » y

: Change of Address Form

Important: If the vehicles covered by this agreement change ownership or the Original Owner has a change or correction to their address, please
complete this form, notifying Kenworth of the change. This is needed for Federal Recall Campaigns should a vehicle be Involved. ~

Complete this form and return it to Kenworth Truck Company, P.O. Box 1000, Kirkland, WA 98083-1000, Attn: Warranty Dept -
Address Information

Company/Contact:

 

 

Old Malling Address:

Old City:

 

Old State/Zip:

 

New Mailing Address:

 

New City:

New State/Zip:

 

Phone number:

 

Email address:

 

 

Chassis Number(s) Date Purchased

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 23 of 48 Page ID #:88

’
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 24 of 48 Page ID #:89

BS —- INLAND Ky WORTH (US) hCw asene coszomm nworcs
ium ° tNLAND PACLEASE an

1600 Washington Blvd., Montebello, CA 906 08-1
GhOUP 9/323) 278-4100 :

   

REPAIR ORDER NUMBER

. 10 >>>. MB74360 <<<<
AME — NUMBER 300100. >>>>.
See en eae - TAXABLE PHONE B18 935-3333 f }
A&S EXPRESS M “ag-12 0 DATH 03-15-12 44:
COMPLETE 03-15~-1 DATE O38 a a
SERIAL NO 299456 UNIT NO. 3299456 MILEAGE 2876
YEAR/MAKE/MODEL' - 2012 KW T660 . LECENEES
ENGINE/MODEL/SERL ISX15 79460818 C RATTO
TRNS /MODEL/SERL . ae
aes Oe See " DEL DATE 02-23-12 DEL MILE

MEMO ARTAK SARGSYAN

ee eee eee eam Ph al cpt Wa 6 en ps eos) ea mr raling nr] we ne ef Mem eS
eee ee ee ee ee ne ee

1 ALIGN DRIVER DOOR.
ADJUSTED DOORS AS NEEDED.
002-017-001
002-301 0.5
11.0

EITHER EXPRESS
F ANY. THE SELLER HEREBY EXPRESSLY DISCLAIMS ALL WARRANTIES
oR IMPLIED, INCLUDING ANY IMPLIED WARRANTY OR MERCHANTABILITY OR ee ¥OR
RR PARTICULAR PURPOSE, AND INLAND KENWORTH INC. NEITHER ASSUMES NOR AU Ee sie
ORTZES ANY OTHER PERSON TO ASSUME FOR IT ANY LIABILITY IN CONNECTION W.
ALE OF SAID PRODUCTS. ;
WE HEREBY CERTIFY THAT THESE GOODS WERE PRODUCED IN COMPLIANCE WITH ALL are
CABLE REQUIREMENTS OF SECTIONS 6, 7 AND 12 OF THE FAIR LABOR STANDARDS ACT
1938, AS AMENDED AND OF REGULATIONS AND ORDERS OF THE ADMINSTRATOR OR WAGE AND
HOUR DIVISION ISSUED UNDER SECTION 14 THEREOF.

RECEIVED BY

ee ee ee ey me ee ee oe OE ee ae ome mee ee eo

PHOENIX {802} 259-7793 108 ANGELES

(329) 278-4400 PRINCE GEORGE (250) 682-8172 QUESNEL (260) 892-7256 ~ TERRACE (250) 835-2292
1021 NORTH 58th AVE, AZ 86043 1800 W, WASHINGTON BLYD, 1096 QUINN ST, V2N 2x2 ~ - 3460 HWY 97 NORTH, Ved GY9 JETT HIGHWAY 16 EAST, VeG 4042
Tucson (520) 885-0028 MONTERELLO, CA 90640 PENTICTON (250) 482-3639 MARAIND (250) 753-5288 VERHOA (250) 545-4424
3737 110 EASTBOUND FONTARA (808) 823-0955 1690 FAIRVIEW RD., V2A 6A8 2874 MEMWOATH AD., V3T 3¥3 1051 LUDDLERON WAY, ¥1B 253
FRONTAGE RD, AZ 86705 ¥730 CHEARY AVE, CA 92335 . KAMLOOPS (260) 374-4406 PORT McHEIL {250) 888-3347 FORT 37, JOHN (250) 785-6405
ALBUQUERQUE (606) 884-0030 R , 865 NOTRE DAME OR, ¥2C Gua BOX 578, 420 PIONEER HILL OR, VOR 2R0 BOX 6040, MILE 48, ALBSKA EWY,
Lan FREEWAY 0.E, : BURNABY (804) 291-8431 CAMPBELL RIVER {250} 267-0808 LANGLEY (804) 607-0306
. $550 GORING ST., Y5G 3A4 2470 NORTH ISLAND HYY, VOW 2H a fc ’

FARMINGTON (508) 327-0200 WHITEHORSE (887) 868-2127 WILLIAMS LAKE {260} 302-7501 CRANBROOK - {260) eee ane Sr taths
1924 BLOOMFIELD HWY, NM 87401 227 RANGE ROAD, YIA 3£65 oad + 1880 BROADWAY AVE., ¥2G 2X3 * }

916 INDUSTRIAL.RD: NOI, VIC 4c8 BOX 1288, 2225 A. MADBNA AVE, VOJ 120
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 25 of 48 Page ID #:90

WF INLAND K NWORTH (US) ly... . sagan Gusidl

y COPY * CUSTOMER INVOICE
Awa §6©|6Uu INLAND PACLEASE ~

aching teballo, CA 90640 i
meng 4600 Washington Bivd., Montebello, CA
GROUP Oran a) 278-4 100

  

(07-05-12
BE 100 © so> MS76188 <<<<
‘ AME - NUMBER 300100 2>>>—
Coe eT SALE ~ TAXABLE PHONE, 818 935-3333 a -
ASH SALE ; >.0, NO. a Sedvlnn a Grete:
A goa PALMER AVE #4 COMPLETE 06-04-12 DATE oo Oe ea 15
GLENDALE, CA 90205 al
SERIAL NO. 299456 UNIT NO. 11 MI BNEE eas
YEAR/MAKE/MODEL - 2012 KW T660 EPL /ARRG
ENGINE/MODEL/SERL ISX15 79460818 _ be eee
TRNS /MODEL/SERL - . =
SELL Rees SSRE = DEL DATE 02-23-12 DEL MILE
‘MEMO 462.7 hrs

contact:rart © __.

~~
~- we ww ewww we wa
ee ee ~~

1 CHECK AND REPAIR TRUCK SURGES WHILE UNDER A LOAD. DRIVER STATES TURBO
cuTS IN AND OUT,
CONTROL#2779522
CLAIM#65705

>> WARRANTY. PENDING <<

PLEASE PAY THIS TOTAL . 0.00
WARRANTIES

ANY. (ARRAN Rs ke a PROC TS ae TETSCLATNG See earn ne AN VEER. EXPRESS

IF ANY. THE SELLER HEREBY E RANT TeyY OR FITNESS FOR

OR IMPLIED, INCLUDING ANY IMPLIED WARRANTY OR MERCHANT i oe ee

TICULAR PURPOSE, AND INLAND KENWORTH INC. NEITHER AS UME
atone ANY OTHER PERSON TO ASSUME FOR IT ANY LIABILITY IN CONNECTION WITH THE
E OF SAID PRODUCTS, 7

WE HEREBY CERTIFY THAT THESE GOODS WERE PRODUCED IN COMPLIANCE WITH peers

CABLE REQUIREMENTS OF SECTIONS 6, 7 AND 12 OF THE FAIR LABOR STANDARD nae

1938, AS AMENDED AND OF REGULATIONS aND Sree OF THE ADMINSTRATOR OR W AND
; ON ISSUED UNDER SECTION 14 THE: .

Bet era RECEIVED BY :

oo ee ee i diaieniied

PHOENIX (802) 268-7781 LOS ANGELES

; (323) 278-4400 PRINCE GEORGE (260) 682-8472 QUESHEL (260) 862-7268 TERRACE (250) 835-2282
{021 ROATH Gath AVE, AZ 85043 1800 W. WASHINGTON BLYD, 1995 QUINN ST., V2 2X2 3180 HWY 97 WORTH, V2.) S¥9 J671 HIGHWAY 16 EAST, ¥80 462
JUCSON {620} 888-0028 MONTEBELLO, CA 90840 PENTICTON (260) 492-3939 NANAIMO (250) 758-5188 VERNON (270) 545-4424
3737 4. 110 EASTBQUND FORTANA {808} 823-6855 1800 FAIRVIEW AD., ¥2A BAS 2474 KENWORTH RD., VOT 3Y3 1051 MINDLETOW WAY, V1B 283
FRONTAGE AD, AZ 65705 8730 CHERRY AVE, CA 92335 KAMLOOPS (250) 3744408 - = PORT McHEIt (260) 068-3347 FORT ST. JOHM (2A) 785-6106
ALBUQUERQUE (505) 84-0030 865 HOTRE OAME OR., V2C SNE BOX 578, 420 PIONEER HILL OR, VEMZRO «BOX 8340, MILE 49, ALASIA HWY,
3120 PAK AMERICAN FREEWAY 4.E, . BURNABY. (804) 294-8431 CAMPBELL RIVER ° — (260) 287-8878 LANGLEY (G04 607-0300
NM 97107 $550 GORING ST., VC 3A4 2470 NORTH ISLAND HWY, VOW 28 "28770 GLOUCESTER WAY, VaW 3V8
FARMINGTON ; (505) 327-0200 WHITEHORSE (887) 898-2127 WILLIAMS LAKE (260) 392-7101 CRANBROOK (260) 426-8205 HOUSTON (250) 845-2333
3924 BLOOMFIELD HWY, NM 87401 227 RANGE ROAD, YIA 3E5 1560 BROADWAY AVE., V2G 2X3 816 INDUSTRIAL RD, NGI, VIC 406 :

BOM 1208, 2288 R WADINA'AVE, VOd 120
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 26 of 48 Page ID #:91

P< INLAND K. \WORTH (US) KC _-nepaawe cusromin nwores

1

iim" INLAND PACLEASE

1 i *
ah 1600 Washington Bivd., Montebello, CA 90640 06-06-12
SGROUP (323) 278-4100

   

REPAIR ORDER ‘NUMBER
CUSTOMER NAME NUMBER 300100

>o>> MS7T6188 <<<<

LA CASH SALE - TAXABLE PHONE, B18 935-3333
4 ee PALMER AVE #4  - GOMPLETE 06-04-12 DATE ,O6-Odo0g 24:22
GLENDALE, CA 90205 svc WIR

} | } RAGE 18101
SERIAL NO. 299456 UNIT NO. 11 MILEAGE 18101
YEAR/MAKE/MODEL - 2012 KW T660 a VP34645
ENGINE/MODEL/SERL ISK15 79460818 C 1/ BER
TRNS/MODEL/SERL - ‘RAT
SELL gle il : | DEL DATE 02-23-12 DEL MILE
MEMO 462.7 hre

contadtre@rt neem anerenanceee

1 CHECK AND REPAIR TRUCK SURGES WHILE UNDER A LOAD. DRIVER STATES TURBO

CUTS IN AND OUT.
CONTROL#2779522
See >> WARRANTY PENDING <<

PLEASE PAY THIS TOTAL * 0.60
DISCLAIMER OF WARRANTIES

ANY WARRANTIES ON THE PRODUCTS SOLD HEREBY ARE THOSE MADE BY MANUFACTURER,
Tr ANY. THE SELLER HEREBY EXPRESSLY DISCLAIMS ALL WARRANTIES EITHER EXPRESS
OR IMPLIED, INCLUDING ANY IMPLIED WARRANTY OR MERCHANTABILITY OR FITNESS FOR
A PARTICULAR PURPOSE, AND INLAND KENWORTH INC, NEITHER ASSUMES NOR AUTH |
ORIZES ANY OTHER PERSON TO ASSUME FOR IT ANY LIABILITY IN CONNECTION WITH THE
GALE OF SAID PRODUCTS,
WE HEREBY CERTIFY THAT THESE GOODS WERE PRODUCED IN COMPLIANCE WITH ALL APPLI-
CABLE REQUIREMENTS OF SECTIONS 6, 7 AND 12 OF THE FAIR LABOR STANDARDS ACT OF
1938, AS AMENDED AND OF REGULATIONS AND ORDERS OF THE ADMINSTRATOR OR WAGE AND
HOUR DIVISION ISSUED UNDER SECTION 14 THEREOF.

" RECEIVED BY

fee we eee ae es ae te ee ee ee me tee me Oe Om ee we me mee ow OS

PHOENIX (602) 258-7791 LOS ANGELES (323) 278-4100 PRINGE GEORGE 4280) 582. ;

Y628 AORTA SH AVE, AROAS 1800 W. WABHIaTON BLVD, UML 3160 HY 17 NORTH, wie 7 AY wusnieed.
Cres MONTEDELLO, ck BO6a0 PENTICTON (750) 4923039 = NANAIMO (250) 755-5206 =| VERWON (ete Bas-4474
pete sine) ee (00) 829-9955 1690 FAIRVIEW AD., V2A 6A8 2474 KENWORTH RD., VOT 3Y3 1950 MIDOLETOM WAY, ViB 203
ppeeresy en AVE, CA 82336 KAMLOOPS (250) 3744408 = PORT McWEIL (250) 886-390 © FORT ST. JOHN =e TBS-8105
Se rneeksdline ce 885 NOTRE DAME DA, V2C 58 BOX 678, 420-PIONEER HILL OR, VOMERO © BOX 6340, MILE 48, ALASKA HY
eo ie BURNABY (004) 201-6431 «CAMPHELL RIVER (280) 207-8EW' «LAWLEY. "wo 607-0300
mien eretin mean ween ct Sonna st, YeEaMA 2470 WORTH ISLAND HWY, VOW 2H1 28770 GLOUCESTER WAY. YAW 3VE
3924 BLOGHFIELD HWY, NM 87401 227 RANGE ROAD, YA 3ES - 1580 BROADWAY AYE,, V2a a tee SL ie aM Na =, J Ss ass

818 INDUSTRIAL RD. M1, VIC ACB” =’ ROX: 1299, 22258. MAGIA AVE, VOl 120
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 27 of 48 Page ID #:92
a INLAND. K, WV ORTH | (US) IC: xepaur customer INVOICE
mao = INLAND PACLEASE ee

rani 1600 Washington Blvd., Montebello, CA 99640 . - 97-18-12
neue | (323) 278-4100

      
  

“REPAIR ORDER NUMBER

| | AB | >>> 376963 <<<<
STOMER NAME NUMBER 300100 >>>> MS76

CR cag SALE - TAXABLE . BOWE 818 935-3333 . .
A.& S EXPRESS .O. NO. pall Wy-og-12 19108
1030 E. PALMER AVE #4 COMPLETE 07-06-12 DATE 0 2 19;
GLENDALE CA 90205 | SVC WIR AM *AM

: LEAGE 27666
SERIAL NO. 299456. UNIT NO. 11 MILEAGE -2766
YEAR/MAKE/MODEL - 2012 KW T660 LICENSE VP84645
ENGINE/MODEL/SERL ISX15 79460818 CPLy Ree :
TRNS /MODEL/ SER - Ry RATI!
SELL ee oo | DEL DATE 02-23-12 DEL MILE
“MEMO 811.6 HRS

ARTR

i -~- we w ew we
ae ee eo oe ee ~- we we wee EN wm mm em - i
me ee ee - : oe ~ “

a HECK AND REPAIR FAN BLADE BROKEN. — ,
SERIETED COMPALINT. FOUND FAN BALDE CRACKED. DRAINED COOLANT REMOVED CO
OLANT HOSES OUT OF THE WAY. REMOED CAC HOSES. AND RADIATOR SUPPORTS. PU
LLED: OUT FAN BLADE AND INSTALLED NEW ONE ADDED COOLANT INSTALLED ALL A
‘CCESS COMPOSBNNTS CHECKED AFTER FOUND ALL OK... . .
042-003-004 — k ;
042-312 2.5 i
Sa >> WARRANTY PENDING <<
1 010023829 : FAN-ENGIN :

2 CHECK AND REPAIR TAIL LIGHTS ALL WAYS ON .
NO PROBLEM FOUND |
>> WARRANTY PENDING <<

- Pa “ - - - - - - - ~ ~ ~ awe = - ~ - - ~~ = em

PLEASE PAY THIS TOTAL 0.00
DISCLAIMER OF WARRANTIES os
ANY WARRANTIES ON THE PRODUCTS SOLD HEREBY ARE THOSE MADE BY MANUFACTURER,
TF ANY. THE SELLER HEREBY EXPRESSLY DISCLAIMS ALL WARRANTIES EITHER EXPRESS
OR IMPLIED, INCLUDING ANY IMPLIED WARRANTY OR MERCHANTABILITY OR FITNESS FOR
A PARTICULAR PURPOSE, AND INLAND KENWORTH INC. NEITHER ASSUMES NOR AUTH-
ORIZES ANY OTHER PERSON TO ASSUME FOR IT ANY LIABILITY IN CONNECTION WITH. THE
SALE OF SATD PRODUCTS,
WE HEREBY CSRTIFY THAT THESE GOODS WERE PRODUCED IN COMPLIANCE WITH ALL APPLI-
CABLE REQUIREMENTS OF SECTIONS 6, 7 AND 12 OF THE FAIR LABOR STANDARDS ACT OF
1938, AS AMENDED AND OF REGULATIONS AND ORDERS OF THE ADMINSTRATOR OR WAGE AND
HOUR DIVISION ISSUED UNDER SECTION Ae

REC D BY :

mee ee wee ee ee oe we 0 te ne oe Oe te ee te me ee oe ee we

PHOENIX (802) 258-7791 LOS ANGELES (923) 278-4100 PRINCE GEORGE (250) 682-0172 au
, ESNEL (260) 992-7268 VERNON 60) 545:

eo SOth AVE, AZ 86043 1600 W, WASHINGTON BLVD, 1995 QUINN ST., V2N 2X2 _ 3150 HWY 87 NORTH, ¥2J 6Y8 1051 MIDDLETON WAY, ee ei
AY een (620) 888-0028 MONTEBELLO, CA 90840 PENTICTON (250) 482-3939 HAHAIMG (280) 758-5288 FORT $7. JOHN (250) 785-8108
eS eae FONTANA (809) 823-9865 1890 FAIRVIEW RO., V2A BAB 2305 HORTHFIELD ROAD, VSS 302 BOX 6340, MILE 48, ALASKA HWY.
ERGaTA Bie 701 9790 CHERRY AVE, CA 92336 KAMLOOPS (250) 3744408 CAMPBELL RIVER (260) 287-8878 LANGLEY (804) 07-0300
FETE i em 884-0030 BAM DIEGO (B13) 328-1800 885 NOTRE DAME DA, V20-5K8 2670 NORTH ISLAND HWY, VOW 241 26770 GLOUCESTER WAY, V4W 3V6
hile RICAN FREEWAY KE, 542 W, JOHNSON AVE BURNABY (804) 201-8435 CRANBROOK (250) 428-6205 WHITERORSE (250) 845-2333

F FL CAJON, CA 92020 . 5560 GORING ST, VEC 3A$ a5 848 INDUSTRIAL RD, NO.1, VIG 4c8 227 RANGEROAD,YIA3EG-
EAT Users? 8290 . > WILUAMS LAKE (260) 382-7108 resttie a bears
3824 BLOOMFIELD HWY, NM 87401 -

. 1680 BROADWAY AVE, W20 2X3
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 28 of 48 Page ID #:93

 

 

 

 

 

   

 

 

 

  
   
     
    
   
  
   

 

i ere itty: an _ - ~~ 2125 South Constitution Blvd. rm .
Kenworth ¢ al@S wavascscrsas’ . (REPAIR ORDER
Sot neice: - Tel (801) 487-4161 »Toll Free (800) 222-7831 Dealer Code K340
> mpany Fax (801) 412-4388 iS arasonee Coes aW
Customer: A AND S EXPRESS Date: SEP 14, 2012
1030 E PALMER AVE #4 -  R.O.#: 929627
GLENDALE, CA 91205 P.O.#:
Acct.#; 7777
Page: 1
Written By: 0183
091456
ReleasW.O.#: 0188 ~~
Year: 2013 Make: KW Model: T660 Serial#: (CJ299456
Mileage ‘51916 _DIS: _ °' Phone#: 818 935 3333 Uniti: 11t
OPERATION: 01
COMPLAINT ;
CHECK FOR WHILE TAKING OFF FROM A STO E SEEMS TO JERK
CORRECTION: . :
HOOKED UP P@ CHECKED FOR FAULTS N IN THE ENGINE ECM
RAN TRUCK CUSTOMER COMPLANED AIRE 3 IN. THE ENGINE RAN
TRUCK COULD NOT HEAR NOISE HE SQ(DSARRAT YOU HAVE TO GET IT
HOT RAN A ‘REGEN STARTED TO BAR SWTICKING NOISE CHECKED OUT
FOUND COMING FROM THE FRON# OF. @fHS§ ENGINE REMOVED THE FAN
BELT RAN ENGINE NO NOISE CREgRE THE PULLYS FOUND NOISE
IN THE A/C COMPRESSOR CLUTCH BERBRING CUSTOMER DOES NOT HAVE
TIME TO REPAIR OTHER PROBLEM WELL BE FIXED WITH THE CUMMINS
ECM CALIBRATION ZR,
Rel ST
Part Number Descorip Cipr wy Price Extension
, , eo u PARTS TOTAL: -,
LABOR TOTAL: ; 162.00
SLCSC .NTY CREDIT TOTAL:
TOTAL OPERATION 01 162.00
OPERATION: 02
COMPLAINT ;
CHECK FOR & GINE COLD/IN THE AM THERE WAS WHITE SMOKE

PAID
SEP 1 4 2012

KENWORTH

Sa ee ae Se ees account will be debited electronically for the original amount and electronically or Via papex i Hh H ? ah .

pasta allowable service fee. Payment by check constitutes authorization of these transactions, You may revoke AE 1 : yi in Se

; orization by calling (800) 666-5222 ext, 2 to arrange payment for any outstanding checks und service fees duc. . qa Ue
SLC ! ere

 

 

LCRO 929627
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 29 0f 48 Page ID #:94

  

 

 

 

 

 

 

 

 

 

  
 
  
   
       

hessiean Fen poareaeeri mlLgr@s 2125 South Constitution Blvd. . ——————=
=. Kenworth . Al@S Weviecs,ureas ©,” [REPAIR ORDER
STS Ph oe ena: oo Tel (801) 487-4161 »Toll Free (800) 272-7831 Dealer Code K340
Company meee : ** CUSTOMER COPY **
_ .
Customer: A AND S EXPRESS nou eae 201
1030 E PALMER AVE #4 Odi:
GLENDAEE, Sh 2aey Acct.#: 7777
Page: 2
Written By: 0183
Ms 091456
_ * ReleaswW.0O.#: 0188, }
Year: 2013 Make: KW Model: T660 Serial#: C7299456
Mileage - 51916 DIS: Phone#: 818 935 3333 Unit#: ail
CORRECTION:
CORRECTION: ;
NO WORK PERFORMED
TAX:
OPERATION: 03
COMPLAINT:
CHECKF OR CRUISE WILL NOT STA T
CORRECTION:
NO WORK PERFORMED
PARTS TOTAL:
wy, ¥ LABOR TOTAL:
WARRANTY CREDIT TOTAL:
TAX: my “Y TOTAL OPERATION 03
OPERATION: 04
COMPLAINT: Se
PERFORM 13062
CORRECTION; i
RECALIBRA'RED ECW FROM CL10114.12 TO .22
“ugg” == PARTS LIST ~~Continued--
Part Number Description Qty Price Extension

iene check is returned unpald, your account will be debited electronically for the original amount and electronically or via paper | " . ; 1 , .
4 ¢ state's maximum allowable service fee, Payment by check constitutes authorization of these transactions, You may revoke ie so
authorization by calling (800) 666-5222 ext. 2 to arrange payment for any outstanding checks and’service fees duc. : a .
92962745

SLCRO 92962
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 30 of 48 Page ID #:95

cenworth . ales 2125 South Constiuton ie REPAIR ORDER

 

  

 

 

 

 

 

 

 

Dh eee Tel (G01) 487-4161 «Toll Free (800) 2x77831 Dealer Code K340
somMpany Fax (801) 412-4388 "SE GUSTOMER COPY **
Customer: A AND S EXPRESS . Date: Seheae 2012
1030. EB PALMER AVE #4 ai 9296
DALE, CA 91205 .O.#:
= : Acct.#: 7777
Page: 3
Written By: 0183
091456
ReleasW.O.#: 0188 .
‘Year: 2013 Make: KW Model: T660 | Serial#: CJ299456
Mileage 51916 DIS: Phone##: 818 935 3333  Unit#: 111
OPERATION: 04
| PARTS LIST - Je
Part Number Description Qty Extension
. Bor TPrAL: 54.00
SLCsc -WARRANTY@Q@RED I Pedy ; 54.:00-
TAX: TOTA Dao Ea

 

OPERATION: 05

COMPLAINT:

CHECK FOR FLASHING LIGHT SWIT ON STEERING WHEEL NOT WORKIN
G

CORRECTION:

    
 
  

NO WORK PERFORMED
gn PARTS TOTAL: ~
LABOR TOTAL:
OF WARRANTY CREDIT TOTAL:
TAX: ge yg TOTAL OPERATION 05

OPERATION: 06

COMPLAINT: f
CHECK FOR Ng

aes
CORRECTION:

NO WORK PERFORMED

Ne

If your check is retunted unpaid, your account will be debited eléctronically for the orig Hl
: n i . ly for the original amount and electronically ax via paper
for-the state's maximum allowable service fee. Payment by chock constityses aythorization of these transactions. You may revoke -
: 962745

this authorization by calling (800) 666-5222 ext, 2 to arrange payment for eny outstanding checks and service fees due.

SL CR-Q °
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 31 0f48 Page ID #:96

 

 

 

 

“4 Company

Cugtomer: A AND S EXPRESS
‘1030 E PALMER AVE #4
‘ GLENDALE, CA 91205

Year: 2013 Make: KW

=) Kenworth. ales

2125 South Constitution Blvd. a
West Valley City, UT 84119 {

Fax (801) 412-4388

Date;
R.O.#:
P:0.#:

Acct .#:

Page:
Written By:

Tel (801) 487-4161 #Toll Free (800) 222-7831

 

REPAIR ORDER
Dealer Code K340
** CUSTOMER COPY **

 

 

 

SEP 14, 2012
929627... .
7777
. 4 .
0183
091456

ReleasW.0.#: 0188

Model: T660 Serial#: CJ299456

 

phone#: 818 935 3333

Mileage 51916 DIS:

Unit#: Lil

 

Customer has read and agrees to the terms and
conditions of this repair order,
set forth on the reverse hereof.

SIGNATURE

Parts:
Freight:

Labor: 216.00

Shop Supp.: 16.20

Tax: 12.21

Env. Fee: 5.00
including those Sublet:
Towing:
Mileage:

Warr. CRD.: 54.00-
COUPON CRD:

Amount Due: 195.41

 

CUSTOMER SIGNATURE

if your chock is returned unpaid, your account will be debited clegtronically for the original amouat and electronically or via paper
for the state's maximum allowable service fee, Payment by chuck constitutes authorization of these transactions, You may revoke
this authorization by calling (800) 666-5222 ext, 2 to arrange payment for any outstanding checks and service fees duc.

$4 CRO

 

ML

 

Mt

92962745

 

 

 

 

 

 
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 32 of 48 Page ID #:97

NELAND Ki NAW ORTH (US) HC». |  GUSTOMER INVOICE
~ INLAND PACLEASE

    

*
430 Ch Avenue, Fontana, CA 92335 40-24-12
9730 Cherry (909) 823-9955 ; INVOICE ae ;

AME . NUMBER 6100 | >>>> FS69
Soe CNA CASH ACCOUNT PHONE | 818 935-3333 —_
a BOMPLETE 10-24-12 DATE. 10-15-12 13:54
| ESTIMATE 1000 gvc WIR

LXKAD , 3B 58815

SERIAL NO. 1XKAD49X700299456 UNIT NO. MILBAGE
YEAR/MAKE/MODEL - 2012 Kw T600B ord
ENGINE /MODBL/SERL ISK15 79460818  Onere
TRNG/MODEL/SHRL ~ RTLO18918B 80863943 |
ae ee DEL DATE 02-23-12 DEL MILE
MEMO DRIVER : ART 818-935-3333

11015 / ENG HRS 1711

” no ek ie Ela ee ee ee a ee ol ee ES ES
vee nee ee eee eee meee
ad

1 ***COMPLAINT* **
PERFORM COURTESY INSPECTION

***CAUSH***

**e* CORRECTION * ¥ + ;
PERFORMED COURTESY INSPECTION. NO FAULTS FOUND @ THIS TIME.

. TOTAL LABOR 0.00
|
2. ***COMPLAINT***

C&A DRIVER SIDE DOOR * DRIVER STATES IT Was ADJUSTED TWICE AND
HE STILL HEARS AND FEELS WIN D ABOVE 45 MPH

***CAUSE***
**¥*CORRECTION***
CONTINUED
PHOENIX (802) 269-7791 LOY ANGELES (323) 278-4100 PRINCE GEQRGE (250) 502-8472 GUESHEL (250) 992-7258 VERNOR (250) 646-4424
1021 WOATH 68th AVE, AZ 85043 1800 W. WASHINGTON BLVD. 1096 QUINN ST. ¥2N 2X2 3150 HWY 8? NORTH, V2u 5Y9 1051 MIDDLETON WAY, VIB 2N3
TUCSON {520) 888-0028 MONTEBELLO, CA 90840 PENTICTON £250) 482-3938 NARAIMO (250) 758-5288 FORT ST, JOHN (280) 786-6105
3737 N. {10 EASTBOUND FONTANA (80) 823-9056 1800 FAIRVIEW RD,, V2A BAB 2365 NORTHFIELD ROAD, V88 303 BOX.8340, MILE 48, ALASKA HWY,
FRONTAGE RO, AZ 85708 8730 CRERRY AVE, CA 82335 KAMLOOPS (260) 374-4406 CAMPBELL RIVER (250) 287-6878 LANGLEY "(809 807-0300
ALBUQUERQUE | * ($05) 884-0030 SAN DIEGU {613) 328-1600 686 NOTRE DAME DA, V2c 59 2470 HORTH ISLAND HWY, VOW 2Ht . 26770 GLOUCESTER WAY, V4W aVB
- 9120 PAN AMERIGAN FREEWAY KE, 542M JOHNSON AVE BURNABY {804) 281-6431 CRANBROOK (250) 426-8205 WHITEHORSE (280) 845-3393
NM 87107 EL CAJON, CA 92020 $560 GORING ST., V6C 3A4 . 816 INDUSTRIAL RO. NOI, VIC 4c8 227 RANGE ROAD, VIA SEB
* FARMINGTON (505) 927-0200 ye WILLIAMS LAKE (250) 302-7101 . .
+ 93924 BLOOMFIELD HWY, HM B7401 :

1560 BAGADWAY AVE., ¥20 2X3
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 ._ Page 33 of 48 Page ID #:98

NLAND Ku IWORTH (US) Ih >.

CUSTOMER INVOICE

 
   

“oo. RAE We x * j “A OO PAGE 2
~ INLAND PACLEASE .
9730 Cherry Avenuo, Fontana, CA 92335 40-24-12
(908) 823-9955 . INVOLCE NUMBER
; AME NUMBER 6100 s>>> FS69 <<<<_
SOS aA CARH ACCOUNT PHONE 818. 935-3333

3. ***COMPLAINT***
C&A CEL IS ON * DRIVER STATES DPF
#1 FAILURE COMES UP ON DISPLAY *

SERVICE LIGHT IS ON & INJHCTOR

THIS HAPPENS INTERMITTANTLY -

** *CAUSE® © *
FAILED AFTERTREATMENT INJECTOR:

++ *CORRECTION* **
INSPECTED UNIT FOR CHECK
ECM DOWNLOADED CODES INACTIVE

FOR ENGINE LIGHT ON. HOOKED UP TO THE
CODES 3498 X1, 3497X3, 2347 & 2,
2448 X 6, AND ACTIVE 1932 X 3 TROUBLE SHOOT CODE 1932, 1A WMO. NO
OTHER AFTER TREATMENT CODES /2A NO, NO FUBL LEAKS 2B NO, NO
LEAKS AT FUEL SHUTOFF MANIFOLD 2C_NO 4.8 5.0 OZ UNDER
SPECIFICATION CALLED CUMMINS AND OPENED CLAIM # 2855223 AND
REPLACED DOSER INJECTOR .DRAINED COOLANT AND REPLACE DOSER
INJECTOR. CLEAR ALL CODES AND PERFORM MANUAL REGEN AND PASSED.
CALLED CUMMINS AND CLOSED CLAIM.

CONTROL#2855223 Se ee
1  2881761NXCUM KIT-INJEC
1  2881761NXCUM# CORE
4  ¥**COMPLAINT***

C&A TAIL LIGHTS

* DRIVER STATES WHEN THE DRIVERS DOOR IS OPEN THE

‘TAIL LIGHTS DIM

** *CAUSE ***
TROUBLESHOOTING :

*¥ * CORRECTION®* *
INSPECTED UNIT FOR TAIL LIGHTS

GOING DIM WHEN CAB DOOR IS OPEN.
NO FAULTS FOUND AT THIS TIME .

5 **¥*COMPLAINT* **
C&A TURBO BOOST PRESSURE * DRIVER STATES WHEN. LOADED GETTING ON
THW FREEWAY THE UNIT SURGES. UN IT STARTS TO HEAT UP QUICKLY

(ALMOST OVERHEATING) AND THE TURBO BOOST PRESSURE DROPS TO
ZERO.

**¥*CAUSEY***

* * *CORRECTION* * *

PERFORMED A DYNO AND CHECKED UNIT FOR NO BOOST PRESSURE AND
OVERHEATING. TRUCK RAN AT 200 - 220 & 380 @ 410 HP 35PSI OF
BOOST PRESSURE UNDER FULL LOAD AN DYNO. POSSIBLE FAULT IS

. LEAKING TURBO FLEX PIPE, ADVISED CUSTOMER.

CONTINUED

PHOENIX (802) 258.7791 LOS ANGELES (323) 278-4400 PRINCE GEORGE

{250) 662-817:
ea §8th AVE, whe 0 1500 W. WASHINGTON BLVO, 1895 QUINN SY,, V2N 2X2 "” Sante 97 NORTH, on fat wea WAY, petal
inn !”|6|C|UCUe PENTICTON (260) 482-3998 = - NANAIMO (250) 7883288 FORT ST, JOHN {250) 785-0105
FRONTAGE RD. AZ 85705 Tat aay on e2o-a88s 1090 FAIRVIEW RO., V2A BA8 2366 NORTHFIELD ROAD, VBS ICE BOX B340, MILE 48, ALASKA HWY,
ALBUQUERQUE cpalteeato Hehe RIS ohne KAMLOOPS (250) 374-4408 CAMPBELL RIVER (260) 283878 = LANGLEY (804) 607-0300
Si WL RERERU TE TEE te eg (19) 328-4800 805 NOTRE DAME DR., V2G ENS 2470 NORTH ISLAND HWY, YBW Zt 28710 GLOUCESTER WAY, VaW 3V6
wla'Bi07 he a aa BURNABY y (804) 201-6431 © CRANBROOK (250) 4286205 = WHITEHORSE (250) 845-2333
FARMINGTON (608) 327-0200 ' areca a 6G 3A4 aunt 816 INDUSTRIAL RO. NO.1, VIC deo 227. RANGE ROAD, Y1A 3&5 - 2

3924 BLOOMFIELD HWY, HM 87401 1660 BROADWAY AVE, V20 2X3
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 34 of 48

As INLAND Ki WORTH (US) IhCs.
naw, INLAND PACLEASE

9730 Cherry Avenue, Fontana, CA 92335
, (909) 823-9955

   

1680 BROADWAY AVE, ¥2G 2X3

INVOICE

Page ID #:99

CUSTOMER INVOICE
PAGE 3

*
10-24-12
NUMBER

ON ‘ UMBER 6100 p>o>> FS69303  <<<<.
CUSTOMER NAME NUMBI : 5."
FONTANA CASH ACCOUNT PHONE 818 935-3333 so.ot
TOTAL LABOR 150.0
6 ***COMPLAINT***
C&A HVAC FAN: DRIVE STATES IT BLOWS WEAK IN THE CAB
*+**CAUSE* **
LOOSE CONNECTIONS :
+ *CORRECTION* * +
INSPECTED HVAC SYSTEM FOR BLOWER WEAK ._ CHECKED, WIRING AND
CONNECTIONS. FAULT FOUND THE FAN RE SECURED. TESTED UNITS
CONNECTION, CLEANED THE CONNECTION AND 8 .
OPERATION. UNIT IS IN WORKING CONDITION.
TOTAL LABOR 166.60
7) ee eCOMPLAINT * * x
C&A TURBO FLEX PIPE * DRIVER STATES IT IS CRACKED
*¥*¥*¥CAUSE***
ie #KCORRECTION* # ¥
PULLED TRUCK IN AND REMOVED AND REPLACED THE EXHAUST FLEX PIPE
2S NEEDED AND CHECKED OPERATION, ALL OKAT THIS TIME,
043-003-017~235~-35-05 <= wed aiemINe <<
1 M66-7091-0320 PIPE-BELL
8  ***COMPLAINT*** a
C&A HIGH BEAM HEAD LIGHT SWITCH * SWITCH ON STEERING WHEEL
**e*CAUSE*** ,
LOOSE CONNECTIONS:
** *CORRECTION* **
INSPECTED SMART WHEEL HEADLIGHT FLASH SWITCH. CONFIRMED SWITCH IS
TNOP. CHECKED FUSES, REALYS, AND REMOVED THE SWITCH TO TEST THE
OPERATION. SWITCH IS IN WORKING CONDITION. REMOVED THE DASH
ESS. T FOUND. THE UNIT ,
CONNECTOR. CLEANED AND SECURED WIRING. TESTED UNITS OPERATION.
UNIT IS IN WORKING. RE-INSTALLED THE DASH CLUSTER AND SMART
WHEEL.. RE-TESTED TO CONFIRM REPAIRS.
. TOTAL LABOR 606.90
CONTINUED
Se eeL $0th AVE, oe Re Acne BLVD. (28) 2788100 eae Y2N 2X2 wae0) sea4472 Hae 07 ROATH, aa Laon lie WAY, ota
TUCSON {520) 886-0028 MONTEBELLO, 0A 90840 . PENTICTON {250) 482-3938 MANALMO ‘ (250) 75-6283 FORT ST. JOHM 3 (260) 786-6105
3737 WI0 EASTBOUND FONTAHA (968) 823-0855 1890 FAIRVIEW BD., ¥2A BAB 2366 NORTHFIELD ROAD, ¥8S 303 BOX 6340, MILE 48, ALASKA HWY.
FRONTAGE AD, AZ 85705 9730 CHERRY AVE, CA 02335 KAMLOOPS (250) 174-4408 CAMPBELL RIVER (250) 287-8878 CANGLEY ‘ : {804} 807-0300
ALBUQUERQUE (505) 884-0030 SAN DIEGO {813} 328-4600 885 NOTRE DAME OR., V2C 688 3 2470 NORTH ISLAND HWY, VOW 213 26770 GLOUCESTER WAY, V4WavVe =”
‘aoe FREEWAY NE, ae JOHNSON AVE BURNABY (804) 201-8431. CRANBROOK (260) 428-8205 WHITEHORSE 280) 845-2333
FARMINOTON Neoniary ane JON, CA 92020 eae Y6C 9A4 easraneci 816 INDUSTRIAL AD HO, Vie 468 22) RANGE ROAD, Y1A 365 :
3824 BLOOMFIELD HWY, NM 87401 a
Case 2:14-cv-04410-PSG aS Document 1-1 Filed 06/06/14 Page 35 of 48 Page ID #:100

     

w L LAND Ki YWORTH (US) the Boe : " cussomak INVOICE
ANLAND PACLEASE spaucs
9730 Cherry Avene, Tae ae more NOWBER
NUMBER 6100 >>
CUSTOMER NAME

FONTANA CASH ACCOUNT PHONE 818 935-3333

LAINT* ** casi! ease om TBA
: CEA NOLSE ON PASSENGER SIDE ONLY IN AM * DRIVER STATES rT sti
LOUD TICKING NOISE

ee WCAUSEY

***CORRECTION* * * oo he

10 ++ * COMPLAINT * +
REPLACE REAR MOD FLAPS

ne *CAUSE* we
MUDFLAPS :

#* ¥CORRECTION* **

RESIZED ae TO. FIT, REPLACED MUDFLAPS.CHECKED OPERATION, ALL
OK AT THIS TI

>> NO CHARGE <<
2 24X3 OWKWF MUDFLAP-W

11 ***COMPLAINT™**
REPLACE REAR CROSSMEMBER

eee CAUGR® **
DAMGED CROSS MEMBER:

***CORRECTION* **

PULLED TRUCK IN AND REPLACED THE DAMGED CROSS MEMBER AND CHECKED
OPERATION, ALL OK AT THIS TIME.

>> NO CHARGE <<
1 K100-1148 CROSSMEMB
L FREIGHT IN UPSR

MISCELLANEOUS SUPPLIES 112.70

“ — ~ - - - ~

- ~~ ~ ~ ~ ” ~ = - -

LABOR SLS CUSTOMER 3508 773.50
DYNO LABOR CUST 354B 150.00
‘ SUPPLIES RECOVERED 917C 112.70
SALES TAX 217F 8.73
PLEASE PAY THIS TOTAL 106 1044.93

CONTINUED

| THE CARDMEMBER
AM SATISFIED WITH
THE WORK COMPLETED

PHOENIX (B02) 268-7781 LOg ANGELES

{323) 278-4190 PRINCE GEORGE (250) 562-8172 QUESNEL {250) 882-7258 YEANON (250) 545-4424
102% RORTH both AVE, AZ 95043 1600 W. WASHINOTON BLVD. “1985 QUINN 8T., V2N 2X2 ‘3150 HWY 97 NORTH, V2d 578 ‘1053 MIDDLETON WAY, V1B 2N3
Tucsow (520) 8B8-0023 MONTEBELLO, CA 90840 PENTICYON (250) 402-3939 NANAIMO - (250) 758-5288 FORT ST. JOHN (260) 786-6105
3737 1110 EASTBOUND FONTANA (908) 823-0085 1690 FAIRVIEW RD., V2A BAB 2365 NORTHFIELD ROAD, Vas 32 BOX 6340, MILE 49, ALASKA HWY,
FRONTAGE AD, AZ 85705 : 9730 CHERRY AVE, CA 92338 KAMLOOPS (260) 374-4408 CAMPBELL RIVER (250) 287-478 LANGLEY (804) 607-0300
ALBUQUERQUE (505) 884-0030 SAW DIEGO (813} 328-1600 865 NOYRE DAME DR., V2C 6NB 2470 NORTH ISLAND.HWY, VOW 2H1 28770 GLOUCESTER WAY, VaW 3V8
3120 PAN AMERICAN FREEWAY NE, 542M, JOHNSON AVE BURNABY {804} 201-6431 CRANBROOK 1250) 426-6205 WHITEHORSE (250) 845-2333

NM 87107 : EL GAJON, CA 92020 §560 GORING ST., V5 JA4 818 INDUSTRIAL RO, NO.$, VIC 4CB 227 RANGE ROAD, Y1A 3E5

FARMINGTON (505) 327-0200 WILLIAMS LAKE (260) 382-7101 si .
“3924 BLOOMFIELD HWY, NM 87401

1560 BROADWAY AVE., V20 243
Case 2:14-cv-04410-PSG-AS Document1-1 Filed 06/06/14 Page 36 of 48 Page ID #:101

We INLAND Ki IWORTH (US) IN -. —— cogzoysg nworcs
Bim ° INLAND PACLEASE

  

  

*
aGR 9730 Cherry Avenue, Fontana, CA 92335 . 10-24-12
( E NUMBER 6100 >>>> FS6930
Cote oka ACCOUNT PHONE 818 935-3333

MAD MANU R
LE ANE «get eT EeENG BN IMPLI WA Y OR MERC TABILITY OR FITNESS F
OR IMPLIED, INCLUDING ANY IMPLIED NEITHER ASS S$ NOR AUTH-
AND LAND KENWORTH INC, UME

MRE ANY OTHER PERSON 70 SUME FOR IT ANY LIABILITY IN CONNECTION WITH THE
Se QEBY CERTIFY THAT THESE GOODS WERE PRODUCED IN COMPLIANCE, WITH DS UAT OF-
CABLE REQUIREMENTS OF SECTIONS 6, 7 AND 12 OF THE FA oe OP anon OR WAGE
1938, AS AMENDED AND OF REGULATIONS AND OREO, OF THE AD AND

UR D1 N ISSUE SECTION 14 THEREOF.
HOUR DIVISION ISSUED UNDER 3] RECEIVED BY ;

ee
= we me ow ee oe ee oe ee ee eee

PHOENIX (802) 258-7751 (08 AMGELES {923} 278-4400 PRINCE GEORGE (250) 82-8572 QUESNEL (260) 892-7258 VERNON (250) 45-4424
1021 MOATH Bath AVE, AZ 86043 1600 W. WASHINGTON BLYO, 1806 QUINN ST., ¥2N 2X2 3150 HWY 97 NORTH, V2u S¥e 4361 MIDDLETON WAY, V1B 2N3
TUCSON {920} 888-0028 MONTEBELLO, CA 80840 PENTICTON (250) 482-3039 NANAIMO (250) 768-5288 FORT 87. JOHN (250) 786-6105
3737 M10 EASTBOUND FONTAKA (809) 823-8955 1680 FAIRVIEW RD., V2A 8A8 2365 NORTHFIELD ROAD, Vas 3C3 BOX 6340, MILE 48, ALASKA HWY.
FRONTAGE RD, AZ 85705 B730 CKERRY AVE, CA 02335 KAMLOOPS : (250) 374-4406 = CAMPBELL RIVER {250) 287-8878 LANGLEY {804} 607-0300
ALBUQUERQUE "~ {505} 884-0030 SAN DIEGO * (813) 328-1600 855 ROTREOAME OR, V2C BNE : 2470 WORTH ISLAND HWY, VOW 2H1 . 28770 GLOUCESTER WAY, Vaw 3V8
3120 PAN AMERICAN FREEWAY HE, 42H, JORKNSON AVE BURNABY (604) 281-8431 CRANBROOK (250) 426-6205 - WHITEHORSE {250) 845-2333
NM 87107 EL CAJON, CA 92020 : 5560 GORING 8T., ¥5C 3A4 818 INDUSTRIAL RD. HOt, VIC 4c8 227 RANGE ROAD, VIA 3E6
FARMINGTOK {806) 327-0200 WILLIAMS LAKE {260) 302-7101 et ,
3924 BLOOMFIELD HWY, 8M-87401

+ 1880 BRDADWAY AYE., ¥2Q 2x3
Case 2:14-cv-04410-PSG-AS Document1-1 Filed 06/06/14 Page 37 of 48 Page ID #:102

AV INLAND Ki VWORTH (US) Ic..
fiw  (NLAND PACLEASE

  

CUSTOMER INVOICE

Sey (NLAND os *
GROUP 1600 Washington Blvd., Montebello, CA 90640 12-13-12.

(323) 2784100 INVOICE. NUMBER

AME 381130 <<<< .
: NUMBER 300100 >>>> BS |
See aha - TAXABLE PHONE. | 818 935-3333 |

A & S EXPRESS P.O. NO,

1030 B. PALMER AVE #4

pate 12+12-12 09:05
GLENDALE CA 90205.

(COMPLETE 12-22-22 Svc WER CM *CM

MILEAGE 74112.

SERIAL NO. 299456 LICENSE VP8¢645 —

UNIT NO. 11
YEAR/MAKE/MODHL - 2012

KW T660

ENGINE /MODEL/SERL ISKL5 79460818 Rapier
TRNS/MODEL/SHRL - |
SELL ee eas DEL DATE 02-23-12 DEL MILE
cece 0000000000 DDDDPDDPDD
oaeeeeccecec 000000000000 DDDDDDDDDDD
cece eccee = 9000 0000 8=©— DDDD DDDD
GEE ccec = 0000 0000 DDDD DDDD
CECE 0000 0000 )8=—-:«zDDDP DDPD
eccc -cecce 0000 0000 8©DDDD DDDD
eccc ecce 0000 0000 «6DDDD )=—sDDDD
ecéeccececec 000000000000 DDDDDDDDDPD
ecececccce 0000000000 DDDDPDDDDD
1. REPLACE DOOR SILLS ON DRIVER DOOR LT

REMOVED ALL DAMAGED DOOR SI

LL ON DRIVER DOOR, AND ADJUSTED DOOR

@RH AIR COMES THRU DOOR. PUT AIR PRESSURE ONCE REPAIRS WERE
COMPLETED AND NO AIR WAS HEARD OR FELT THRU THE DORR ANYMORE.
002-026-004
002-423 1.0
002-425 .5
410

>> WARRANTY PENDING <<

1 R42~1084 SEAL-DOOR

DISCLAIMER OF WARRANTIES
ANY WARRANTIES ON THE PRODUCTS SOLD HEREBY ARE TH

IF ANY.
OR IMPLIED,

sb R42-1159
i K207~-386-4

SEAL-CAB
SEAL-FAN

PLEASE PAY THIS TOTAL

0.00

OSE MADE BY MANUFACTURER,
THE SELLER HEREBY EXPRESSLY DISCLAIMS ALL WARRANTIES EITHER EXPRESS

INCLUDING ANY IMPLIED WARRANTY OR MERCHANTABILITY OR FITNESS FOR ~

A PARTICULAR PURPOSE, AND INLAND KENWORTH INC. NEITHER ASSUMES NOR AUTH~
ORIZES ANY OTHER PERSON TO ASSUME FOR IT ANY LIABILITY IN CONNECTION WITH THE
SALE OF SAID PRODUCTS. ;

WE HEREBY CERTIFY THAT THESE GOODS WERE PRODUCED IN COMPLIANCE WITH ALL APPLI-
CABLE REQUIREMENTS OF SECTIONS 6, 7 AND 12 OF THE FAIR LABOR STANDARDS ACT OF

1938,

HOUR DIVISION ISSUED UNDER SECTION 14 THEREOF.

CONTINUED

PHOENIX 4802) 254-7781
1021 NORTH Seth AVE, AZ 86043
Tucson 1520) 888-0028

3737 N10 EASTBOUND
FRONTAGE RO, AZ 85705
ALBUQUERQUE (505) 884-0030
3120 PAN AMERICAN FREEWAY N.E,

NM 87107
FARMINGTON | (605) 327-0200
3824 ALOOMFIELD HWY, NM 8740}

LOS ANGELES
1600 W. WASHINGTON BLVD,
MONTEBELLO, CA 80840
FONTANA
9730 CHERRY AVE, CA 82335
SAN REGO
542 WH. JOHNSON AVE

_ EL CAMON, GA $2020

(323) 276-4100

{908) 23-9855

(813) 328-1600

RECEIVED BY

AS AMENDED AND OF REGULATIONS AND ORDERS OF THE ADMINSTRATOR OR WAGE AND

ee)

PRINCE GEORGE
1996 QUINN BY., V2N 2x2
PEATITON
1890 FAIRVIEW AD., Y2A BAB
KAMLDOPS
865 NOTRE DAME DR, V2C BNB
BURNABY
6580 GORING ST., VEG 344

» WILLIAMS LAKE- .
1560: BROADWAY AYE, V2G 2X3

{250) 582-8172
(260)-482-3839
(250) 374-4406
(604) 281-6431

(250) 392-7403

QUESNEL (260)-802-7256
3150 HWY 87 KORTH, Y2¥ BY9
NANAIMO (260) 786-8288
2386 NORTHFIELD ROAD, VOS 363
CAMPBELL AIVER (250) 283-8878
2470 NORTH ISLAHO HWY, VOW 2Ht
CRANBROOK (260) 426-5205
816 INDUSTRIAL RD. NO,1, VIC 406

TERNON (250) 645-4424
1051 MIQDLETON WAY, V1B 28}

FART ST. JOHN (250) 285-8105
BOX 6349, MILE 48, ALASKA HWY.
TANGLEY (804) 607-0300
28770 GLOUCESTER WAY, V4W 3V8
WHITEHORSE (250) 648-2339
227 RANGE ROAD, YIA 366 :
Case 2:14-cv-04410-PSG-AS Document1-1 Filed 06/06/14 rage 38 of 48. Page ID #:103

7ay

 
 

nit

GROUP

CUSTOMER NAME
LA CASH SALE ~

PHOENIX (602) 254-7791
1021 NORTH 5@th AVE, AZ 86043
TUCSON {520) 885-0028
3737 4110 EASTBOUND

FRONTAGE RD, AZ 857065
ALBUQUERQUE (505) 884-0030
3120 PAN AMERICAN FREEWAY XE,

NM 87107

FARMINGTON {606} 327-0200
3924 BLOOMFIELD HWY, NM 374013

INLAND Ki

(WORTH (US) thc

1860 BROADWAY AVE, V2G 2X9

CUSTOMER INVOICE

PAGE 2
INLAND PACLEASE ‘
4600 Washington Bivd., Montebello, CA 90640 42213 w 2.
~ (323) 278-4100 OE so Seek
NUMBER 300200, 9. >2?? 3
PHONE 818 935-33
TAXABLE
LOS ANGELES {923} 278-4100 PRINCE GEORGE (250) 682-8172 QUESHEL (250) 982-7266 VERNON (250) 45-4424
1600 W, WASHINGTOM BLVD. 1995 QUINN ST., V2N 2x2 ¥ 3168 HWY 97 NORTH, V2J 5Y9 1051 MIDDLETON WAY, V1B 2N3
MONTEBELLO, CA 90840 PENTICTON (250) 402-3838 NANAIMO (250) 768-5288 PORT 87. JOHN (260) 785-6105
FONTARA {909) 823-2955 $890 FAIRVIEW RO., V2A BAG 2366 NORTHFIELD ROAD, V9S 303 BOX 6340, MILE 49, ALASKA HWY.
9730 CHERRY AVE, CA 82335 KAMLOOPS (250) 374-4408 CAMPBELL RIVER {260) 280-8878 CANGLEY | (604) 807-0300
SAN DIEGO (813) 128-1800 885 NOTRE DAME OR, V2C SNE 2470 NORTH ISLANO HWY, VOW 281 28770 GLOUCESTER WAY, Y4W 3V8
542K. JOHNSON AVE BURNABY” {604} 201-8431 CRANBROOK (250) 428-8205 WHITEHORSE {260} 845-2333
EL CAJON, CA 92020 5560 GORING ST., V6C IAS 816 INDUSTRIAL RD. HOI, VIG C8 227 RANGE ROAD, YIA 3E5
WILLUMS LAKE (280) 392-7104 a
  
 
 

bre)

mes

wiv

m= ChOUP

Case 2:14-cv-04410-PSG-AS Document1-1 Filed 06/06/14 Page 39 of 48 Page ID #:104

CUSTOMER INVOICE

aig INLAND Ki WWO RTH (US) een
iio = INLAND PACLEASE

1600 Washington Blvd., Montebello, CA 90640
(323) 278-4100

*

/ 01-15-13
INVOICE NUMBER

 

 

 

_— >>>> MS81678. <<<<
CORTE AB yONE 303 935-3333 : |
LA CASH SALE TAXABLE eee ; a6
A & S EXPRESS begin Hat we DATE ~09-13 11:4
1030 EB. PALMER AVE #4 COMPLETE 01-15-13 DALE oe oe
GLENDALE CA 90205 :
. . 7 er ] 3394
SERIAL NO. 299456 . UNIT NO. 11 MILEAGE Bo neds
aay . LICENSE VPS
ENGINE/MODEL/SERL ISX15 79460818 aoe
TRNS /MODEL/ SERL sr ;
ia 0 | DEL DATE 02-23-12 DEL MILE
MEMO  ARPAK 818 935-3333 Sr cece yes ee cen PR ear gee WOME
ceaceccec¢ 0000000000 DDDDDPDDDD
eaceaceccaed 000000000000 DDDDPDDDDDD
cove cccc = =—0000 0000. ‘DDDD DDDD
gcc ccca 0000 0000 DDDD. DDDD
cece 9000 0000 «=: DDD DDDD
gace ccec 0000 0000 DDDD DDDD
soe cccea 9000 0000 DDDD DDDD
cacaccacecac 000000000000 DDDDDDDDDDD
ececeececc 0000000000 DDDDDDDDDD
1 CHECK AND ADVISE ON A/C BLOWS HOT IN CAB ALSO HOT AND COLD KNOBS .
OT CLOSEING PROPERLY . .
VERIFIED COMPLAINT FOUND HEATER VALVE LEAKING AT CAB REPLACED HEATER V
ALVE CHECKED AFTER FOUND LAL OK..--
001-002-029
001-056 0.4
001-101 0.3
aoe >> WARRANTY PENDING <<
1  ™MA19000 VALVE-WAT
1 EC3501 ELCRED5 0
> CHECK AND ADVISE ON FRT END SUSPENSION COMPLAINT IS TIRES ARE WEARING
UNEVEN .
VERIFIED COMPLAINT CHECKED FRONT END FOUND KING PINS NEED SHIMS. INST
- LDLED KING PIN SHIMS AND PERFORMBD—FRONT-END-ALIGNMENT CHECKED AFTER F
UND ALL OK AT THis TIME....
TOTAL LABOR PAED 715.00
TOTAL PARTS 16.07
3 817494 12.24
1 4720PEN 3.83
15.00
5.00
CONTINUED
PHOENIX {602) 258-7731 LOS ANGELES (323) 278-4100 i PRINCE GEORGE © {260} 682-8172 QUESNEL (260) 092-7258 VERNOW (250) 548-4424
1021 NORTH 58th AVE, AZ 55043 1600 W. WABHINGTON BLYD, 1095 QUINN ST.,V2N 2X2 32150 HWY 97 NOATH, ¥2J 5YS 1051 MIDDLETON WAY, VtB 2N3
TUCSON (520) 888-0028 MONTEBELLO, CA 80840 PENTICTON (250) 492-3998 NANAIMO {250} 758-5268 FORT ST. JOHN (250) 785-6105
3737 N10 EASTBOUND FONTANA {908) 923-8955 1680 FAIRVIEW RD., V2A 8A8 2385 NORTHFIELD ROAD, V9S 303 BOX 6340, MILE 49, ALASKA HWY.
FRONTAGE RD, AZ 85705 0730 CHERRY AVE, CA 92335 KAMLOOPS {250} 374-4408 CAMPBELL RIVER (250} 267-8878 LANGLEY 1804) 807-0300
ALBUQUERQUE {508} 884-0030 SAN DIEGO (83) 328-1800 985 NOTRE OAME DAL, V20 SHB 2470 NORTH ISLAND HWY, VOW 2H4 26770 GLOUCESTER WAY, V4W 3V6
3120 PAN AMERICAN FREEWAY RE, $42 JOHNSON AYE BURNABY (804) 281-6431." CRANBROOK (260) 428-6205 WHITEHORSE {250} 845-2333
4M 87107 EL CAJON, CA 82020 §560 GORING ST,, VEC JAS 818 INDUSTRIAL AD. NO,S, VIC 468 727 RANGE ROAD, YtA 3E5
FARMINOTON (505) 327-0200 WILLIAMS LAKE (2601 392-7101 ‘ . .
3924 BLOOMPIELD HWY, NM 8740) d

1580 BROAOWAY AVE, V2G 2X3
Case 2:14-cv-04410-PSG-AS Document1-1 Filed 06/06/14 Page 40 of 48 Page ID #:105

SAF iNLAN D Ki VWWO RTH (US) lhe o. CUSTOMER INVOICE

a

Siivino =. (NLAND PACLEASE - | mes

 

*
EM GRO 2 1-15-13
hington Blvd., Montebello, CA 9064 o1-: :
CROe mee 323) 278-4100 : 7s INVOICE NOMBER
“NUMBER 300100 >>>> MS8
COE EE ee « TAXABLE PHONE B18 935-3333
| 16.07
, TS SLS SHOP
Hedi 8LS CUSTOMER 715.09
SUPPLIES RECOVERED | 0.00
ES T
peRASE PAY THIS TOTAL 753.87

RRAN ARE MAD MANUFACTURER
DISCLAIMER, OF SON THE PRODUCTS SOLD HEREBY THOSE MADE ey alee
aE ANY, THE, SELES G ANY See SO RRRANTY. OR MERC RNTABILITY OR FITNESS FOR
AS DL . PUREOGE, AND ALAND KENWORTH INC. NEITHER ASSUMES NOR AUTH-~
Avene ane aR SEEON PO RESUME FOR IT ANY LIABILITY IN CONNECTION WITH T
SAH OF SME ray Tat THESE GOODS WERE PRODUCED IN COME NCE Te ae ACT OF
CABLE REQUIREMENTS OF SECTIONS 6, 7 AND 12 OF THE A ea TOR RDS AGE AND
1938, AS AMENDED AND OF REGULATIONS | AND ORROE, OF THE :

} ‘VISION SyHD UNDE oy | THEREOF.
HOUR DIVISION ISSUED UNDER SE ee eee

ee ea ey Nee meee ee me ne On eee ene Sat, ey 10 eam oom am Laat sp) (8 em ey Se ow See
c

PHOENIX (502) 255-7781 103 ANGELES

(323) 278-4100 = PRINGE GEORGE {250) 662-6172 QUESNEL (250) 082-7256 VERNON (250) 645-4424
1021 NORTH GOth AVE, AZ 86043 1600 W, WASHINGTON BLYD, 1905 QUINN ST., V2N 2X2 3150 HWY 87 NORTH, ¥2u 6Y9 1081 MIDDLETON WAY, VIB 2W3
TUCSON {520} 888-0028 MONTEBELLO, CA 90040 - PENTIGYON {250) 482-3939 WAHAIMO (250) 758-5288 FORT ST. JOHN (250) 786-8106
3737 M110 EASTBOUND FONTANA (008) 823-9955. 1680 FAIRVIEW AD., V2A BAB 2386 NORTHFIELD ROAD, V9S 3¢3 BOX 6340, MILE 49, ALASKA HWY.
FRONTAGE RD, AZ 85705 9730 CHERRY AVE, CA 92335 KAMLOOPS (250) 374-4408 CAMPBELL RIVER (250) 287-8878 EANGLEY {604} 897-0300
ALBUQUERQUE (505) 884-0030 8AN DIEGO (843} 328-1600 » 865 NOTRE DAME OR., ¥2C 8NB © 2670 NORTH ISLAWD HWY, VOW 2H1 ‘26770 GLOUCESTER WAY, VaW sve
3120 PAN AMERICAN FREEWAY NE, 542 N, JOHNSON AVE BURNABY (804) 281-6431 “CRANBROOK (260) 428-6206 WHITEHORSE. (250) 846-2333
NM 67107 EL CAJON, CA 92020 6550 GORING ST, V5C 3A4 gi 816 INDUSTRIAL AD. NO.1, VIC 4c6 227 RANGE ROAD, YIA 3E5
FARMINGTON * (806) 327-0200 , WILLIAMS LAKE. (250) 382-7107 a
3924 BLOOMFIELD HWY, NM8740}

1880 BROADWAY AVE., ¥20 2X3
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 41 of 48 Page ID #:106

av. Q
ave INLAND | KENWORTH (US) INw.
INLAND PACLEASE

  
 

      

CUSTOMER INVOICE

oer TH
Bae?

 
 

a at

yee *

saa GROUP 1600 Washington Blvd., Montebello, CA 90640 04-05-13
CUSTOMER NAME NUMBER 300100 >>>> MS83512 <<<<
LA CASH SALE - TAXABLE Sn B18 935-3333
A & § EXPRESS se d
1030 BE. PALMER AVE #4 COMPLETE 04-05-13 DATE 04-04-13 15:50

GLENDALE CA 90205 SVC WIR AM *MP

SERIAL NO. 299456 ,
YEAR/MAKE/MODEL - 2012 KW T660
ENGINE/MODEL/SERL ISX15 79460818

MILEAGE 108243
LICENSE VP84645

UNIT NO. 11

CPL/ARRG
TRNS/MODEL/SERL - R RATIO
RXLS MODEL/SERL -
SELL DLR “DBL DATE 02-23-12 DEL MILE
MENO CONTACT: ARTEK
ceccecccce 0000000000 DDDDDDDDDD
cocececccccd 000000000000 DDDDDDDDDDD
cece ecce 0000 0000 DODD DDDD
cccc coc? 0000 0000 DDDD DDDD
ccce 0000 0600 DDDD DDDD
ecce ecco 0000 OQ00 DDDD DDDD
ecce cece 0000 0000 DDDD DDDD
cecececccccc 000000000000 DDDDDDDDDDD
ecececccce 0000000000 DDDDDDDDDD

1 CHECK AND ADVISE OIL CONSUMPTION 1 GALLON EVERY 12000
CONTROL NUMBER 2953140.
CLAIM NUMBER 39426
; ->> WARRANTY PENDING <<

CV50634FLG

1 BLEMENT-C
1 .4309247NXCUM KIT-EGR C
a BC3501 ELCRED50
4 4298975CUM NUT -LOCK

25 18106~X 1/16-4 CA
1 430924 7NXCUM# CORE

2 CHECK AND ADVISE COOLANT LOSS POSSIBLE AT HBATER VALVE
REPAIS ON OP 1

3 CHECK AND ADVISE 5TH WHEEL ADJUSTMENT
VERIPIED COMPLAINT AND FOUND 5TH WHEEL OUT OF ADJUSTMENT
HOOK UP FITH WHEEL TOOL TO ADJUST AND ADJUST TO SPECS.
CK AFTER AND ALL OK AT THIS TIME,

TOTAL LABOR

125.00

4 CHECK AND ADVISE DOOR ADJUSTMENT SEE BODY SHOP.

ADJUST DOORS TO SPECS AND CK AFTER AL OK

NO CHARGE AT THIS TIME
CONTINUED
PROERIX (80% 258-7701 LOB AUOELES (323) 278-4100 PRINCE OLORGE

(260) 802-8172 QUESKEL Ba) 982.

ind) Aeary Soth AVE, mn ae “ 1600 W. WABILNOTON BLVD, 1995 QUINN ST., V2W 2x3 3180 MWY OF WORTH, wa ove ms Tab sUDOLETON Way voi
$747 N. l0casraouwo 0 rial haat GA 60880 PEMTIGTON (250) 482-3999 NARADEO (280) 758-6288 FORT ST. sOuN " (aba) 78b-8108
SCCUae teat ORTAMA (90m) 823-0055 1990 FAIRVIEW BD., VZA GAB 2305 RORTHRELD ROAD, ¥OS 303 BOX 6340, MILE 49, ALADKA HWY
Sa ianes an 9730 GHEARY AVE, CA 02335 KAMLOOPS (250) 976-4408 CAMPHEAL RIVER = (250) 287-6079 = LASRILEY "wou 807-0300
3120 PAW AMERICAN FREEWAY NE, it rien i (8191 328-1809 eae DAME OR, V20 BHE 2670 KORTH ISLAKO HWY, VOW 2Ht $6770 GLOUCESTER WAY, VaW 3V8
Aaa reals sa tinea 1604) 201-8491 CRANBADOK (280) 426-6208 WHITEHORSE (250) $45-2333

8960 GORING 9T., VOC 3A4
WILLA M8 LAKE
1680 BROAOWAY AVE, V2G 1X3

FARMINGTON 1806} 327-0700

SIG IHOUSTAIAL RO. 80,1, VIC 4C8
3824 BLOOMPIELO HWY, KM 87401

277 RANGE ROAD, ¥1
(250) 102-7101 E a SEE
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 42 of 48 Page ID #:107
avn,” - > |

ea.

SV INLAND KENWORTH (US) ING. cugroyes nwvores
AHLAND INLAND PACLEASE

*
a GROUP 1600 Washington Bivd., Montebello, CA 90640

04-05-13
(323) 278-4100 INVOICE NUMBER

2 <<<
AME NUMBER 300100 >>o>> MS8351
ca’ leon BAe - TAXABLE PHONE 818 935-3333

    

ON ADVISE. .
: xORIFIED COMPLAINT AND FOUND ABS LIGHT ON. HOOK UP COMPUTER
AND FOUND RIGHT REAR DRIVE AXLE SENSOR OUT OF CALIBRATIOIN
CK SENSOR AND OK, RESET CALIBRATION ON SENSOR AND CK
AND FOUND ALL OK AT THIS TIME.

TOTAL LABOR 125.00
MISCELLANEOUS SUPPLIES 25.00
HAZARDOUS MAT FEE 5.00
LABOR SLS CUSTOMER 250.00
SUPPLIES RECOVERED aoe
SALES TAX .

PLEASE PAY THIS TOTAL 282.25
DISCLAIMER OF WARRANTIES

ANY WARRAN : FACTURER,
TIES ON THE PRODUCTS SOLD HEREBY ARE THOSE MADE BY MANU
IF ANY THE SELLER HEREBY EXPRESSLY DISCLAIMS ALL WARRANTIES eles Peres
OR IMPLIED, INCLUDING ANY IMPLIED WARRANTY OR MERCHANTABLLITY i eoeeee
A PARTICULAR PURPOSE, AND INLAND KENWORTH INC. NEITHER ASSUMES CON WITH THE
ORIZES ANY OTHER PERSON TO ASSUME FOR IT ANY LIABILITY IN CONNEC

F SAID PRODUCTS. . . ;
on HEREBY CERTIFY THAT THESE GOODS WERE PRODUCED IN COMPLIANCE WITH At REPL
CABLE REQUIREMENTS OF SECTIONS 6, 7 AND 12 OF THE FAIR LABOR STANDARD wee
1938, AS AMENDED AND OF REGULATIONS AND ORDERS OF THE ADNMINSTRATOR E AND
HOUR DIVISION ISSUED UNDER SECTION 14 THEREOF.

RECEIVED BY :

 

 

 

 

PHOENIX {803} 268-7791 ~ LOS ANGELES

(323) 278-4100 PRINCE GEOROE (280) 82-8172 QUESHEL
1024 NORTH 69th AVE, AZ 8604)

(250) 902-7266 VERROW (280) 545-4428
E00 Wi, WASHINGTON BLD, 1995 QUIK 37. V2N 2X2 3150 HWY 07 NORTH, V20 8YG 1051 MIDDLETON WAY, V18 283

Tucson B20) 148-0073 MONTEBELLO, CA $0840 PEMTICTON (250) 492-3038 NANAIMO , (260) 758-5258 FORT ST, JOHN + (259) 788-6105
3737 M110 EABTBOURD FOMTANA (808) 823-0055 1990 FAIRVIEW RD, V2A GAG : 2298 RORTHTIELO BOAD, V¥S 309 BOX B340, MILE 48, ALASKA HWY,
FRONTAGE AG, AZ 66706 8730 CHEARY AVE, CA 02336 KAMLOOPS (250) 374-4408 CAMPBELL RIVER (260) 287-0978 LANGLEY (804 667-0300
ALBUQUERQUE (BOB) 884-0030 SAW DIEGO {613) 329-1600 8E6 NOTRE OAME CA, ¥20 BNG 2ATQ WORTH ISLAND HWY, Vow 2H1 26770 GLOUCESTER WAY, Yow IVa
3120 PAN AMERICAN FREEWAY WE, 542 WL WOHNSOR AVE BURNABY 1804) 201-8434 TRANBAQOK RGQ) 42-6208 = =| WHITEHORSE (260) 645-2299
HM 87107 EL CAJON, CA 02020 8550 GORING BY., VOC 3A4 O18 (HOD STRIAS RD. HO.1, VIE 468 227 RANGE ROAD, YIA 365
FARMINGTON (505) 327-0200 WILLIAMS LAKE 1260) 392-7904 ‘
3824 BLOOMPIELO HWY, NM 37401

1560 BADADWAY AVE., ¥20 2X3
Case 2:14-cv-04410-PSG-AS Document1-1 Filed 06/06/14 Page 43 of 48 Page ID #:108

Sie 57

 

 

CM-010

i" .. a
Pm Ie ATTORNEY OR PARTY WITHOUT ATTORNEY (Name; ‘ofate Bar number, and address):

FOR COURT USE ONLY
Harry S. Kaloustian (SBN 219679)
KALOUSTIAN &' ASSOCIATES
21031 Ventura Blyd., Ste, 410
Woodland Hills, CA 91364 CONFORMED COPY
: ORIGINAL FILED.
revepHonenc.. (818) 594-0739 raxno.. (818) 594-0852 Fax sory Of Lo kuniee
ATTORNEY FOR (Name): Plaintiff Artak Sargsyan ;

 

SUPERIOR COURT OF CALIFORNIA, COUNTY oF Los Angeles
street aopress: 111 N, Hill Street
maiuine Aopress: 11] N. Hill Street
crry ano zip cone: Los Angeles, 90012
BRANCH Nae: Central District

MAR 20 2014

Sherri R. Carter, Executive Officer/Clerk
By: Amber Hayes, Deputy

 

 

 

 

 

CASE NAME: Sargsyan v. PACCAR
CIVIL CASE COVER SHEET Complex Case Designation casenoBER, CH4U000
[x] pause [_itimited {[—] Counter [__] Jolnder
moun _ (Amount - Filed with first appearance by defendant | /UOGE:
gemanded ono) Sento oes) - (Cal, Rules of Court, rule 3.402) DEPT:

 

 

Items 1-6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:

 

Auto Tort

{__] Auto (22)

{__] Uninsured motorist (46)

Other PI/PD/WD (Personal Injury/Property
Damage/Wrongful Death) Tort

Cc] Asbestos (04)

("| Product liability (24)

[| Medical malpractice (45)

{—} Other PYPDAWD (23)

Non-PI/PD/WD (Other) Tort

[| civil rights (08)

[| Defamation (13)

(-"} Fraud (16)

| __} Intellectual property (19)

|} Professional negligence (25)

 

[_] Business torunfair business practice (07)

Contract

Breach of contract/warranty (08)
[__] Rule 3.740 collections (09)
[~~]. Other collections (09)

[| Insurance coverage (18)
(| Other contract (37)
Real Property

| Eminent domain/Inverse
condemnation (14)

[_] Wrongful eviction (33)
{] Other real property (26)
Unlawful Detainer

[-] Commercial (31)

[_] Residential (32)

[__] Drugs (38)

Judicial Review

[_] Other non-PI/PDIWD tort (35) (_] Asset forfeiture (05) (__] Partnership and corporate governance (21)
Employment | Petition re: arbitration award (11) {_} Other petition (not spacified above) (43)
[_] Wrongful termination (36) f_] writ of mandate (02)
[_} other employment (15) ["_] Other judicial review (39)

Provisionally Complex Civil Litigation

(Cal. Rules of Court, rules 3.400-3.403)

fe Antitrust/Trade regulation (03)

C_) Construction defect (10)

[__] Mass tort (40)

[_} Securities litigation (28)

(_} Environmental/Toxic tort (30)

[_] insurance coverage claims arising from the
above listed provisionally complex case
types (41)

Enforcement of Judgment

{"] Enforcement of judgment (20)
Miscellaneous Civil Compfaint

[] Rico (27)

CI Other complaint (not specified above) (42)
Miscellaneous Civil Patition

 

 

2. Thiscase (lis -(X] isnot complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
factors requiring exceptional judicial management:

a. Large number of separately represented parties d. tC Large number of witnesses ;
b. [__] Extensive niotion practice raising difficult or novel e. {_] Coordination with related actions pending In one or more courts
, issues that will be time-consuming to resolve in other counties, states, or countries, or in a federal court

c. {__] Substantial amount of documentary evidence f. [__] Substantial postjudgment judicial supervision
3. Remedies sought (check ail that apply): a. {x_] monetary b. {_"} nonmonetary; declaratory or injunctive relief c. (_) punitive
4, Number of causes of action (specify): Five (5)
5. Thiscase [__] is isnot actlass action suit.
6. If there are any known related cases, file and serve a notice of related case. (Youm
Date: March 19, 2014
Harry S. Kaloustian (SBN 219679)

(TYPE OR PRINT NAME)

15.)

 

=e OSRATORE OF PARTY oR ATTORNEY FOR PARTY)
NOTICE
* Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed

under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
in sanctions. ,

File this cover sheet in addition to any cover sheet required by local court rule.

« If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding.

e Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
Page 1 of 2

 

 

Form Adopted for Mundatory Use

Judicial Council of Califor a
CM-010 (Rev. July 1, 2007]

CIVIL CASE COVER SHEET iat
So! Ss
hs

Cal, Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
Cal. Standards of Judicial Administration, std, 3.10
Case 2:14-cv-04410-PSG-AS Document 1-1 Filed 06/06/14 Page 44 of 48 Page ID #:109

a
.

. 88 INSTR _ TIONS ON HOW TO COMPLETE THE COwER SHEET CM-010
, To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the-case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party, its
counsel, or both to sanctions under rules 2,30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case” under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising froma transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of attachment.
The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general time-for-service
requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case will be subject
to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Casé Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by

completing the appropriate boxes in items 1 and 2. If a plainti
complaint on all parties to the action. A defendant may file an
' plaintiffs designation, a counter-designation that the case is not

the case is complex.

Auto Tort
Auto (22)—Personal Injury/Properly
Damage/Wrongful Death
Uninsured Motorist (46) (if the
case involves an uninsured
motorist claim subject to
arbitration, chack this item
instead of Auto)
Other PI/PD/WD (Personal Injury/
Property Damage/Wrongful Death)
Tort
Asbestos (04)
Asbestos Property Damage
Asbestos Personal tnjury/
Wrongful Death
Product Liability (not asbestos or
toxic/environmental) (24)
. Medical Malpractice (45)
Medical Malpractice-
Physiclans & Surgeons
Other Professional Health Care
Malpractice
Other PI/PD/WD (23)
Premises Liability (e.g., slip
and fall)
Intentional Bodily Injury/PDAWD
_ (e.g., assault, vandalism)
Intentional infliction of ,
Emotional Distress
Negligent Infliction of
Emotional Distress
Other Pi/PD/WD
Non-PI/PD/WD (Other) Tort
Business Tort/Unfair Business
' Practice (07)
Civil Rights (¢.g., discrimination,
‘false arrest) (not civil.
harassment) (08)
Defamation (e.g., slander, libel)
(13) ,
Fraud (18)
Intellectual Property (19)
Professional Negligence (25)
Legal Malpractice
Other Professional Malpractice
(not medical or legal)
Other Non-PI/PD/WD Tort (35)
Employment
Wrongful Termination (36)
Other Employment (15)
CM-010 [Rev. July 1, 2007]

CASE TYPES AND EXAMPLES

Contract
Breach of Contract/Warranty (06)
Breach of Rental/Lease
Contract (not unlawful detainer
or wrongful eviction)
ContracWarranty Breach—Seller
Plaintiff (not fraud or negligence)
Negligent Breach of Contract/
Warranty
Other Breach of Contract/Warranty

Collections (e.g., money owed, open
book accounts) (09)

Collection Case-—Seller Plaintiff
Other Promissory Note/Collections
Case

Insurance Coverage (not provisionally
complex) (18)

Auto Subrogation
Other Coverage

Other Contract (37)
Contractual Fraud

_ Other Contract Dispute

Real Property

Eminent Domain/Inverse
Condemnation (14)

Wrongful Eviction (33)

Other Real Property (a.g., quiet title) (26)
Writ of Possession of Real Property
Mortgage Foreclosure
Quiet Title
Other Real Property (not eminent
domain, landiord/enant, or

: foreclosure)
Unlawful Detainer

Commercial (31)

Residential (32)

Drugs (38) (if the case involves illegal
drugs, check this item; otherwise,
report as Commercial or Residential)

Judicial Review

Asset Forfeiture (05)

Patition Re: Arbitration Award (11)

Writ of Mandate (02)
Writ-Administrative Mandamus
Writ-Mandamus on Limited Court

Case Matter
Writ~Other Limited Court Case
Review

Other Judicial Review (39)

Review of Health Officer Order
Notice of Appeal-Labor
Commissioner Appeals

CIVIL CASE COVER SHEET

ff designates a case as complex, the cover sheet must be served with the
d serve no later than the time of its first appearance a joinder in the
complex, or, if the plaintiff has made no designation, a designation that

' Provisionally Complex Civil Litigation (Cal.
Rules of Court Rules 3.400-3.403)

Antitrust/Trade Regulation (03)
Construction Defect (10)
Claims Involving Mass Tort (40)

* Securities Litigation (28)

Environmental/Toxic Tort (30)
Insurance Coverage Claims
(arising from provisionally complex
case type listed above) (41)

Enforcement of Judgment

Enforcement of Judgment (20)

Abstract of Judgment (Out of
County)

Confession of Judgment (non-
domestic relations)

SIster State Judgment

Administrative Agency Award
(not unpaid taxes)

Petition/Certification of Entry of
Judgment on Unpaid Taxes

Other Enforcenent of Judgment
Cass

Miscellaneous Civil Complaint

RICO (27)
Other Comolaint (not specified
above) (42)
Declaratory Relief Only
Injunctive Relief Only (non-
harassment)
Mechanics Lien :
Other Commercial Complaint
Case (non-torl/non-complex)
Other Civil Complaint
(nor+tort/non-complex)

Miscellaneous Civil Petition

Partnership and Corporate
Governance (21) |
Other Petition (not specified
above) (43)
Civil Harassment °
Workplace Violence
Elder/Dependent Adult
Abuse
- Election Contest
Patition for Name Change
Petition for Relief from Late
Claim :
Other Civil Petition

Page 2 of 2
Case 2:14-cv-04410-PSG-AS Document1-1 Filed 06/06/14 Page 45 o0f48 Page ID #:110

°

ie
woos , Loy
eo »

4 v * *

 

 

sHorT TITLe: Sargsyan v. PACCAR {SESE B G 54 0 0 50

 

 

CIVIL CASE COVER SHEET ADDENDUM AND
STATEMENT OF LOCATION
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

 

 

This form is required pursuant to Local Rule 2.0 In all new civil case fillings in the Los Angeles Superior Court.

 

Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:

 

 

JURY TRIAL? {X_] YES CLASS ACTION? [__] YES LIMITED CASE? (__] YES TIME ESTIMATED FOR TRIALS___[~|Hours/[ x |pays

Item Il. Indicate the correct district and courthouse location (4 steps — If you checked “Limited Case”, skip. to Item III, Pg. 4):

Step 1: After first completing the Civil Case Cover Sheet form, find the main Civil Case Cover Sheet heading for your
case in the left margin below, and, to the right in Column A , the Civil Case Cover Sheet case type you selected.

Step 2: Check one Superior Court type of action in Column B below which best describes the nature of this case.

Step 3: In Column C, circle the reason for the court location choice that applies to the type of action you have
checked. For any exception to the court location, see Local Rule 2.0,

 

 

Applicable Reasons for Choosing Courthouse Location (see Column C below) |

Class actions must be filed in the Stanley Mosk Courthouse, central district. &. Location of property or permanent'y garaged vehicle.

May be filed in central (other county, or no bodily injury/property damage). 7. Location where petitioner resides. ;

Location where cause of action arose. 8. Location wherein defendant/respondent functions wholly.
Location where bodily Injury, death or Seman occurred, 9. Location where one. or more of the pas reside.
Location where performance required or defendant resides. 10. Location of Labor Commissioner Office

OPON>

Step 4: Fill in the information requested on page 4 in Item Ill; complete Item IV. Sign the declaration.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5

he

g Auto (22) -

“ U a Wrongful Death — Uninsured Motorist | 4., 2., 4

ninsured Motorist (46) ae A7110 Personal Injury/Property Damage/Wrongful Dea ninsur otoris 42 4
~] A6070 Asbestos Property Damage 2.
Asbestos (04) ;
> | A7221 Asbestos - Personal injury/Wrongful Death 2.
“

3 e Product Liability (24) (__] 7260 Product Liability (not asbestos or toxic/environmental) > 142.3448.

a & : ar

= S ; A7210 Medical Malpractice - Physicians & Surgeons 1,4.

23 Medical Malpractice (45) : ; :

= & eal A7240 Other Professional Health Care Malpractice . 4.4.

—_— £

gy .

8 £ (7] A7250 Premises Liability (e.g., slip and fall) 1.4.

a2 % Serena use A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.9., i

5 Property Damage assault, vandalism, etc.) 1., 4.

2 a Wrongful Death | A7270 Intentional Infliction of Emotional Distress 1.,3.
(23) ~__] A7220 Other Personal Injury/Property Damage/Wrongful Death 1., 4.

LACIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0

LASC Approved 03-04 AND STATEMENT OF LOCATION Page 1 of 4
 

Case 2:14-cv-04410-PSG-AS

Document 1-1 Filed 06/06/14 Page 46 of 48 Page ID #:111

 

c
4° 4 . *
y - wh vk e . .
sHorT Time: Sargsyan v.P ACCAR CASE NUMBER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PE ~ Business Tort (07) | AG029 Other Commercial/Business Tort (not fraud/breach of contract) Aes
So
ge
2 = Civil Rights (08) | A8005 Civil Rights/Discrimination “4, 2., 3.
=A :
53 Defamation (13) A6010 Defamation (slander/libel) 4125:3,
e
oe : -
3 £ Fraud (16) | ("] A6013 Fraud (no contract) 1.25.3:
°
ame,
é ° Professional Negligence (25) [__] A6017 Legal Malpractice asic
S 5 [| A6050 Other Professional Malpractice (not medical or legal) Tiss Gays
z
Other (35) | A6025 Other Non-Personal Injury/Property Damage tort 2.,3.
3 Wrongful Termination (36) (= A6037 Wrongful Termination 1.,2.,3
E .
2 | AG024 Other Employment Complaint Case 4,23
g Other Employment (18 es
& ployment (15) i) A6109 Labor Commissioner Appeals 10.
Cc) A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful | 2., 5.
Breach of Contract/ Warranty Sys 2., 5.
(06 ' | A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence) Las
(not Insuranca) © (-_] A6019 Negligent Breach of Contract/Warranty (no fraud) TA
hae] A6028 Other Breach of Contract/Warranty (not fraud or negligence) 149) 6.
% =
S coll [~_] as002 Collections Case-Seller Plaintiff 2.,5., 6.
= Hlecti 9)
8 piesieti 5H) | A6012. Other Promissory Note/Collections Case 2., 5.
Insurance Coverage (18) (| A6015 Insurance Coverage (not complex) 1:.24.555:8
("_] A6009 Contractual Fraud 4.,2., 3. 5
Other Contract (37) [__] A631 Tortious Interference 12-305
Ct A6027 Other Contract Dispute(not breach/insurance/fraud/negligence) 1.,2.,3.,8
> Ba Tan i) Cy A7300 Eminent Domain/Condemnation Number of parcels 2.
8 Wrongful Eviction (33) {] A6023 Wrongful Eviction Case 2., 6.
g .
a [-_] A018 Mortgage Foreclosure i
a
iv Other Real Property (26) [-_] A6032 Quiet Title rs
Ea A6060 OtherReal Property (not eminentdomain, landlord/tenant, foreclosure} 2.,
. Unlawful eee {_) aeo21 Unlawful Detainer-Commercial (not drugs or wrongful eviction) | 2., 6.
2 :
| Unlawtut Detarior Residential | [ "| 46020 Uniawtul Detainer-Residential (not drugs or wrongful eviction) | 2.6.
3 Unlawful Detainer- me s ; -
: Post-Foreclosure (34) [] A6020F Unlawful Detainer-Post-Foreclosure 2., 6.
=
2 Untawful Detainer-Drugs (38) J A6022 Unlawful Detainer-Drugs _ 2., 6.
LACIV T09 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0

LASC Approved 03-04

AND STATEMENT OF LOCATION Page 2 of 4
+
2

Case 2:14-cv-04410-PSG-AS_ Document 1-1 Filed 06/06/14 Page 47 of 48 Page ID #:112

s?

vg

-

v

en +!

woe

ee
Ne
Ny

Naor

 

 

short me: Sargsyan v. PACCAR

CASE NUMBER

 

 

rs

Ry gy s
%

4 t be
; ‘Ve i
i : ae hae at
ie * 1H

Soa

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Asset Forfeiture (05) (~_] A6108 Asset Forfeiture Case 2.,6.
>
2 Petition re Arbitration (11) | A6115 Petition to Compel/Confirm/Vacate Arbitration 2B:
Qo
ow
3 [_] A6154 Writ - Administrative Mandamus 2., 8.
2 Writ of Mandate (02) _| A6152 Writ - Mandamus on Limited Court Case Matter 2.
= (—] A6153 Writ - Other Limited Court Case Review 2.
Other Judicial Review (39) | [__] A6150 Other Writ Judicial Review 2., 8.
c
CO we SS oe a
2 Antitrust/Trade Regulation (03) C] A6003 Antitrust/Trade Regulation 1.,2.,8
ao
=| Construction Defect (10) | _ | A007 Construction Defect Aeieo
*
& : ; :
= Clalris wee Mase Tort . [ze A6006 Claims Involving Mass Tort 1.,2.,8
©
= Securities Litigation (28) A6035 Securities Litigation Case 1.,2.,8
oO
oc
°
3 Envitonmantal (30) [7] A636 Toxic TorvEnvironmental 1.,2.,3.,8.
2 ;
a
eee ap [-_] A6014 insurance Coverage/Subrogation (complex case only) 1.,2., 5., 8.
(| A6141 Sister State Judgment 2.,9.
rs [~_] A6160 Abstract of Judgment 2., 6.
5 5 Enforcement [| A6107 Confession of Judgment (non-domestic relations) 2., 9.
2 5 of Judgment (20) -{-] A6140 Administrative Agency Award (not unpaid taxes) 2., 8.
3 : ; -
m [_} A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax 2., 8.
| A6112 Othar Enforcement of Judgment Case 2., 8., 9.
RICO (27) | ("_] 46033 Racketeering (RICO) Case 1.,2.,8
gz : :
9 g [-_] A6030 Declaratory Relief Only 1.,2., 8.
cc
= 8 Other Complaints = A6040 Injunctive Relief Only (not domestic/harassment) 2., 8.
2 = (Not Specified Above) (42) | | A6011 Other Commercial Complaint Case (non-tort/non-complex) 1.,2., 8.
o [-] As000 Other Civil Complaint (non-tort/non-complex) 1.,2.,8.
Partnership Corporation A6113 Partnership and Corporate Governance Case 2.,8
Governance (21) ;
A6121 Civil Harassment 2.,3., 9.
2 A6123 Workplace Harassment eondricas
g 2 etter Patiane | A6124 Elder/Dependent Adult Abuse Case 2.,3.,9.
F & MCNEpSE Vou ste [—] A6190 Election Contest 2
= 4
z & (49) {___] A8110 Petition for Change of Name 2 ile
[| A8170 Petition for Relief from Late Claim Law Bs Say ia B.
(__] A6100 Other Civil Petition 2., 9.
LACIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0

LASC Approved 03-04

AND STATEMENT OF LOCATION

Page 3 of 4

 

 

 
Case 2:14-cv-04410-PSG-AS Document1-1 Filed 06/06/14 Page 48 of 48 Page ID #:113

gi oo
yw Y

Y

ra thes

 

 

“I gidar Ye, Sargsyan v. PACCAR

CASE NUMBER

 

 

Item Ill. Statement of Location: Enter the address of the accident, party's residence or place of business, performance, or other
circumstance indicated in Item II., Step 3 on Page 1, as the proper reason for filing in the court location you selected.

 

ADDRESS: | 6( hineton Blvd.
REASON: Check the appropriate boxes for the numbers shown 600 Was gt Blvd
under Column C for the type of action that you have selected for

 

 

 

 

 

 

 

this case. ;
(71. I2.1-73.004.095.016.017. (18.09.20.
city: STATE: ZIP CODE:
Montebello CA 90640
item IV. Declaration of Assignment. | declare under penalty of perjury under the laws of the State of California that the foregoing is true
and correct and that the above-entitled matter is properly filed for assignment to the Stanely Mosk courthouse in the
Central District of the Superior Court of California, County of Los Angeles [Code Civ, Proc., § 392 et seq., and Local

Rule 2.0, subds. (b), (c) and (d)].

‘Dated: 3/19/2014

 

 

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

1.

2
3)
4

a

Original Complaint or Petition.

If filing a Complaint, a completed Summons form for issuance by the Clerk.. ,
Civil Case Cover Sheet, Judicial Council form CM-010,

03/11).

. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.

Payment in full of the filing fee, unless fees have been waived.

 

6. Asigned order appointing the Guardian ad Litem, Judicial Council form ClV-010, if the plaintiff or petitioner is a
minor under 18 years of age will be required by Court in order to issue a summons.
7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
must be served along with the summons and complaint, or other initiating pleading in the case.
LACIV 109 (Rev. 03/11) CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.0
LASC Approved 03-04

‘AND STATEMENT OF LOCATION Page 4 of 4

 
